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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                              Richmond Division




              The United States of America,

                                            Plaintiff,

                                versus          3:10CR398

              Israel Cruz Millan,

                                            Defendant




                     before: HONORABLE JAMES R. SPENCER
                        United States District Judge


                                   Sentencing

                               February 16, 2012
                               Richmond, Virginia




                            Gilbert F. Halasz, RMR
                           Official Court Reporter
                               U. S. Courthouse
                             701 East Broad Street
                           Richmond, Virginia 23219

                                 (804) 916-2248
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                                   APPEARANCES



                             Michael R. Gill, Esq.

                              Angela Miller, Esq.

                        Addison B. Thompson, Jr., Esq.

                             for the United States



                        Atchuthan Sriskandarajah, Esq.

                        Rober Varner Combs, III, Esq.

                               for the defendant

                                  The defendant

                           in his own proper person
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 1            THE CLERK:    Case number 3:10 CR 308.

 2            The United States of America versus Israel Cruz

 3      Millan.

 4            The United States is represented by Michael

 5      Gill, Addison Thompson, and Angela Miller.

 6            The defendant is represented by Atchuthan Sris.

 7            Are counsel ready?

 8            MR. GILL:    United States is ready, Your Honor.

 9            MR. SRISKANDARAJAH:      Defendant is ready, Your

10      Honor.

11            THE COURT:    All right.

12            Government?

13            MR. GILL:    Good morning, Your Honor.

14            The defendant is before The Court this morning

15      after having previously pled guilty to counts one,

16      nine and ten of the indictment; count one charging

17      conspiracy; count nine charging him with conspiracy

18      to possess, produce, and transfer false

19      identification documents; count ten being money

20      laundering conspiracy.

21            As he stands before The Court this morning he

22      is offense level of 38.       Guidelines criminal history

23      category one.     Yields a range of 235 to 293 months.

24      There are no objections to the calculations from

25      either side.
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                                                                            4


 1            The United States has moved for an upward

 2      variance, and the defense has moved for a downward

 3      variance.

 4            THE COURT:    All right.

 5            Mr. Cruz Millan, would you stand where you are,

 6      please.

 7            Sir, have you had an opportunity to have this

 8      presentence report explained to you and then

 9      discussed it with your lawyer?

10            THE DEFENDANT:     Yes, sir.

11            THE COURT:    All right.

12            Thank you.    You may have a seat, sir.

13            Counsel, if you would would approach.

14            Counsel, have you had adequate opportunity to

15      review the presentence report and discuss it with

16      your client?

17            MR. SRISKANDARAJAH:      I have, Your Honor.

18            THE COURT:    Do you have any objections,

19      corrections, or amendments to the presentence report

20      as offered?

21            MR. SRISKANDARAJAH:      No, Your Honor.

22            THE COURT:    All right.

23            You may have a seat.      I will hear the motion

24      from the government.

25            MR. GILL:    Your Honor, this morning in support
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                              Joseph - direct                               5


 1      of our motion for upward variance we have two

 2      witnesses.    Special Agent Joseph will be the first

 3      to call.

 4            THE COURT:    All right.

 5                                  P. JOSEPH

 6                   WAS SWORN AND TESTIFIED AS FOLLOWS:

 7                             DIRECT EXAMINATION

 8      BY MR. GILL:

 9      Q     Good morning.

10            Please introduce yourself to Judge Spencer.

11      A     Good morning.

12            P. Joseph, Special Agent Homeland Security

13      Investigation.

14      Q     How long have you been an agent with Homeland

15      Security Investigation?

16      A     Since November of 2003.

17      Q     Are you one of the lead investigators assigned

18      to the case involving Israel Cruz Millan and the

19      criminal enterprise at the heart of this case?

20      A     Yes, sir, I am.

21      Q     I want to talk to you specifically about Israel

22      Cruz Millan today.      Starting out, can you give Judge

23      Spencer just a brief description, overall nature of

24      the investigation, and the extent of the criminal

25      enterprise that you uncovered here in the United
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                              Joseph - direct                               6


 1      States?

 2      A     Briefly, this organization is that, that we

 3      started looking at, quickly developed.         We realized

 4      it was a massive organizational structure that has

 5      ties to Mexico; 18 cells, 13 states, most of the

 6      east cost, some of the midwest.        The organization

 7      sold tremendous amount of counterfeit identification

 8      documents and wired over a million dollars in three

 9      years to Mexico.

10      Q     At the heart of your knowledge about this

11      organization, aside from search warrants and

12      subpoenaed records, were there six different wire

13      taps, court-authorized wire taps?

14      A     Yes, sir.

15      Q     As as well as numerous debriefings of numerous

16      co-conspirator in this investigation?

17      A     Yes, sir.

18      Q     Through all that work, tell us, who was in

19      charge of the organization at the time of the

20      nation-wide take-down in November of 2010.

21      A     Israel Cruz Millan or El Muerto.

22      Q     El Muerto, generally what does that mean?

23      A     Translated to the "dead one."

24      Q     Describe for us the nature of the supervision

25      that he exercised for this organization when he was
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                              Joseph - direct                               7


 1      in charge?

 2      A     We learned very, very quickly that he was

 3      essentially a micro manager.        He oversaw daily

 4      operations, numerous cells on a daily basis; all the

 5      way from accounting to sales, supply, competition,

 6      internal problems.      He was, he had his hand in all

 7      of it.

 8      Q     Where -- and describe for us the general

 9      hierarchy of this organization.        Where he falls in

10      that hierarchy.

11      A     Again, very clear from the very beginning he

12      was essentially the top guy in the United States.

13      He was the CEO.     Through the intercepts we found

14      that there were leadership in Mexico, but there was

15      nothing close to the leadership on his level here in

16      the United States.      He was absolutely the top dog.

17      Q     In that position, as far as the operation of

18      the cells within the United States, did your

19      investigation show that indeed he was the one who

20      was in charge of coordinating all that?          There was

21      not contact from Mexico to these cells?          Instead it

22      his him?

23      A     It was Cruz Millan who made the vast majority

24      of the decisions.

25      Q     Overall, describe for us the amount of time you
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                              Joseph - direct                               8


 1      had him connected to this organization we are going

 2      to talk, about his time as supervisor.

 3      A     We have him -- we have an arrest for

 4      counterfeit identification documents related to

 5      crime in Nashville in 2006, Nashville, Tennessee,

 6      where he was arrested with laminators, printers,

 7      computers.    Typically all of the tools needed to

 8      create, manufacture identification documents.           As

 9      far as, very consistent with, also with the

10      equipment we found on November 18 of 2010 throughout

11      the country during the nation-wide take-down

12      operation.

13      Q     In fact, as we will discuss, Nashville,

14      Tennessee was one of the operating cells for this

15      organization even at the time of the take-down?

16      A     Yes, it was.

17      Q     Now, describe for us what you uncovered through

18      the investigation with respect to his link to time

19      as the overall supervisor of U.S. operations.

20      A     Through the debriefs of multiple cooperating

21      defendants we learned that he has been in charge

22      essentially 18 months to two years in the United

23      States.

24      Q     Through the investigation, including wire tap

25      intercepts, are you aware of anyone else taking over
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                              Joseph - direct                               9


 1      supervision during that time period?

 2      A     No, sir.

 3      Q     With respect to coordinating cell operations,

 4      including the acts of violence, were you aware of

 5      instances that actually resulted in acts of violence

 6      or planned acts of violence where he was not

 7      involved?

 8      A     No.

 9      Q     Let's talk about the defendant's connection to

10      violent events.     First off, tell us overall this

11      organization's connection with violence, both

12      internally and externally.

13      A     Before the violence you have to understand the

14      organization was built on total control.          Control

15      was the main function to keep order.         To keep people

16      from selling internally, control over market place.

17      Violence was a tool that was used to maintain that

18      control.    So violence was used internally to

19      maintain discipline, maintain the rules of the

20      organization.     As well as violence was obviously

21      used externally in the community to cement their

22      foot hold, eliminate competition and raise market

23      price.

24      Q     In fact, first talk a little bit about

25      internally.     Are you aware of specific acts or, you
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                               Joseph - direct                             10


 1       know, general method they would use to address

 2       serious violations of internal rules?

 3       A     Absolutely.

 4       Q     What type of instances would they use?

 5       A     It was essentially, or exactly, standard

 6       operating procedure by the organization when they

 7       went and laid a hit on a competitor, or what they

 8       would call a cleaning, they would use, we saw

 9       numerous --

10             MR. SRISKANDARAJAH:     Objection, Judge.      I

11       believe the question was internally.

12       BY MR. GILL:

13       Q     Internally, first, and then we will talk

14       externally.

15       A     Yes.   There was an act of violence internally

16       in Raleigh, North Carolina, September 29.

17       Q     Are you aware of other acts including events

18       that occurred here in Richmond, Virginia?

19       A     Yes, sir.

20       Q     Did that involve Jose or J. M. M., who

21       testified at trial?

22       A     Yes.   That's correct.

23             MR. GILL:    Your Honor, we move for admission of

24       exhibit number 17, which is the testimony of J. M.

25       M. from the trial.
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                               Joseph - direct                             11


 1             THE COURT:    All right.

 2             MR. GILL:    Just to move things along if it is

 3       okay with The Court, I would like to refer to three

 4       different pages.

 5             THE COURT:    Go ahead.

 6             MR. GILL:    36 through 38, Your Honor.

 7             J. M. M. testified at trial that in Richmond,

 8       we were in Norfolk, but we went to a meeting in

 9       Richmond.    They started talking there about the

10       people who had broken the rules.        So then once they

11       started talking about who hod broken the rules, they

12       got them together and they were spanked.

13             Question:    Okay.   Who was in charge of that

14       meeting?

15             Answer:   Muerto.

16             Question:    What Did he say was the reason he

17       was having the meeting?

18             Answer:   Because many people were lowering the

19       price of the documents and taking customers away

20       from other members.

21             Turning to page 37 at line 6.

22             Question:    How many people approximately were

23       there at this meeting?

24             Answer:   Like 15 or 20.

25             Question:    Who was being punished at this
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                               Joseph - direct                             12


 1       meeting by spanking?

 2             Answer:   There were various ones.       This was

 3       Chacho, Cheyung.     Another two people and me.       So I

 4       wouldn't be spanked I got in with it, too.

 5             Question:    Tell the jury why -- tell the jury

 6       what happened when Chacho and Cheyung got spanked.

 7             Answer:   They were put in place, and each

 8       person would give them a spanking.        But they would

 9       have to take their pants down.

10             Question.    Who had to participate in the

11       spanking?

12             Answer:   Everybody.    One of the rules was that

13       you had to hit hard because if you didn't, you would

14       get it, too.

15             And then the top of page 38 in response to the

16       question:    Did you hit Chacho and Cheyung?

17             Answer:   I didn't hit Cheyung hard.       And he

18       told them that I had not hit him hard.

19             Question:    What happened because you had,

20       didn't hit Cheyung hard enough?

21             Answer:   They put my in as well.

22             Question:    Were you spanked?

23             Answer:   Spanked and without eye brows.

24             Now, that type of event, Agent Joseph, that you

25       heard about in debriefs of co-conspirators involved
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                               Joseph - direct                             13


 1       in this case?

 2       A     We heard that exact same thing over and over.

 3       Q     Now, then you mentioned externally.

 4             Now, before we talk about externally, tell

 5       Judge Spencer, did it appear based on your

 6       investigation and knowledge of this organization

 7       that the acts of violence, particularly once

 8       externally, started more recently, or was this

 9       something that was a culture of this organization?

10       A     It was absolutely part of the culture.

11       Q     How far back?    Do you have examples of them

12       dating back to even before 2010?

13       A     We have a record of an additional homicide than

14       previously mentioned to this court in Little Rock,

15       Arkansas in 2008.     Back then.

16       Q     Was there then an event that occurred in the

17       Richmond area as well?

18       A     There is.    In June of 2009.

19       Q     Will you identify a pattern they generally

20       followed in executing attacks against competition?

21       A     Absolutely.

22       Q     What was the pattern that they chose to follow?

23       A     The similarity between these acts that we have

24       been able to identify over the two-year

25       investigation, these guys, standard operating
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                               Joseph - direct                             14


 1       procedure, they have pre-paid phones, they find an

 2       abandoned houses, trailers.       They used duct tape.

 3       They use multiple members to gang up on rival

 4       document manufacturers or sales person to lure them

 5       to this abandon house.      They will take them in.

 6       They will assault them.      They will interrogate them.

 7       They will threaten them with multiple instances of

 8       use of a gun, and they will interrogate specifically

 9       unaware of the location of their equipment, document

10       manufacturing equipment.

11       Q     Through the investigation, co-conspirator

12       debriefings, as well as wire tap intercepts, what

13       can you tell us with respect to supervisory roles of

14       the defendant as far as being involved in acts of

15       violence?

16       A     Again, Cruz Millan was a micro manager.         Every

17       act of violence we saw went through him.         There was

18       talking, there was talk on a cell level about acts

19       of violence.    They would have to wait for

20       authorization from Cruz Millan.

21       Q     Now, I want to talk about specifics first.

22       Raleigh, North Carolina.

23             Just generally, describe for us the

24       significance of that cell for the organization, and

25       who was in that area for the events on October 29 of
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                               Joseph - direct                             15


 1       2010?

 2       A     We knew Raleigh to be one of our major cells.

 3       And we also knew that Cruz Millan was either living

 4       there or spending the vast majority of his time

 5       there.

 6       Q     Generally, what major event occurred there on

 7       October 29 of 2010?      How did you become aware of it?

 8       A     We were sitting in the monitor room on a Friday

 9       evening when I a call came in from our Spanish

10       speaking monitor informed us that a gentleman, a

11       man, was about to, was getting beat up by Cruz

12       Millan.

13       Q     We will talk in couple minutes about the steps

14       that you and other investigators took.         But give

15       Judge Spencer a description, just the overall

16       evidence that you gathered in the investigation

17       about that event that gave you an inside look at

18       what happened.

19       A     Well, throughout the call she was letting us

20       know there was lot of yelling, that it was

21       definitely business-related, it was

22       fraudulent-document related.       It was also internal

23       member that was being disciplined, the words

24       "torture" was used.      To preserve life we notified

25       Raleigh Police Department of the incident who
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                               Joseph - direct                             16


 1       actually responded, and ultimately conducted a

 2       search warrant at the residence.        They were also

 3       able to locate the victim of that assault.

 4       Q     Was that victim interviewed?

 5       A     He was.

 6       Q     In addition, did D. F. A., who testified at the

 7       trial of Edy Oliverez-Jiminez, testify about him

 8       being present and what happened in relation to that

 9       event?

10       A     He was present.

11             MR. SRISKANDARAJAH:     Objection, Judge.      That

12       would be hearsay.

13             THE COURT:    Overruled.

14             THE WITNESS:    He testified that he went to the

15       residence.    Saw Cruz Millan grab an individual named

16       Chingway off the couch.      He was on the couch

17       sleeping.    Grabbed him, began to assault him.        Threw

18       him, dragged him upstarts of the residence.          Short

19       time later the -- sorry.

20       BY MR. GILL:

21       Q     D. S. A.?

22       A     D. S. A. was summoned up to the room.         Sorry.

23       Let me go back a second.

24             Previously that day Cruz Millan ordered him to

25       go and buy a bucket, jumper cables, as well as duct
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                               Joseph - direct                             17


 1       tape.

 2             Back to the room.     D. S. A. entered the room,

 3       saw Chingway bound to the chair with duct tape.

 4       Cruz Millan asked him for his telephone, which he

 5       had other, several phones laid out on the bed.          He

 6       basically -- Cruz Millan made a conference call to

 7       other cell members and proceeded to orchestrate and

 8       participate in the assault, and ultimately the

 9       electrocution of Chingway.

10       Q     What did they use to electrocute Chingway?         And

11       tell Judge Spencer about D. S. A. testimony how they

12       were able to make a connection on that?

13       A     D. S. A., as I say, went up there.        He saw they

14       were using the car battery, the jumper cables, and

15       then there was a bucket.      They were initially

16       shocking Chingway without the use of bucket of

17       water, but according to D. S. A. Cruz was

18       unsatisfied with the results of the, I guess the

19       conductive nature without the water.         So he

20       instructed D. S. A. to get the bucket of water, get

21       a bucket, fill it up, and place Chingway's feet in

22       the bucket, and proceeded to electrocute him, which

23       was more satisfactory to Cruz Millan.

24       Q     Now, explain to us, D. S. A., what was his role

25       for the organization and connection to Raleigh; and
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                               Joseph - direct                             18


 1       Chingway, what position was he in the organization?

 2       Where was he brought in from for this attack?

 3       A     He was the cell manager for the Raleigh cell.

 4       Actually, was also potentially roommates with Cruz

 5       Millan at that period of time.       Chingway was a

 6       runner in the Greensboro, North Carolina cell.

 7             MR. GILL:    Your Honor, we move for admission of

 8       exhibit number 5, which is the testimony of D. S. A.

 9       from the jury trial of Edy Oliverez-Jiminez from

10       this event.

11             THE COURT:    It will be admitted.

12       BY MR. GILL:

13       Q     Now, then, Agent Joseph, I know you have a

14       stack of exhibits there in front of you.         If you

15       would take a look at exhibit number 2.         Are these

16       generally photographs that were taken at the

17       Whitehall address where this attack occurred on the

18       night of October 29 of 2010 by Raleigh Police

19       Department?

20       A     That's correct.

21             MR. GILL:    Your Honor, we move admission of

22       exhibit number 2.

23             THE COURT:    It will be admitted.

24       BY MR. GILL:

25       Q     Explain to us -- on the screen there we have
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                               Joseph - direct                             19


 1       page one -- what are we looking at?

 2       A     This is just the residence at Whitehall Avenue

 3       in Raleigh.

 4       Q     In fact, that is where the residence is?

 5       A     It is the far end.

 6       Q     Now then, turning to -- look at page 4, please.

 7             Explain to us what we are looking at there.

 8       A     This is, according to D. S. A., the couch where

 9       Chingway was sleeping that Cruz Millan pulled him

10       off and began to assault him.

11       Q     The next page, page 5, please.

12       A     Cruz Millan forced Chingway up the stairs.

13       Q     Page 5.    Okay.

14             There you go.

15       A     Sorry.    The stairs.

16       Q     Yes.   These were the stairs?

17       A     These were the stairs that Chingway was dragged

18       up or forced up to the room where he was eventually

19       tied to or taped to a chair with duct tape.

20       Q     And then page 6.

21       A     Actually the chair.     And in the back you see

22       the bed which is, according to D. S. A., where the

23       phones were laid out for this pseudo conference

24       call.   Because you see the chair is broken and

25       pieces are laying on the ground.
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                               Joseph - direct                             20


 1       Q     Now, you indicated that you notified Raleigh

 2       Police Department about this after you became aware

 3       of the event.     Are you aware of what happened with

 4       Chingway, if he was able to get away?

 5       A     Chingway provided a statement, a brief

 6       statement to the Raleigh Police Department and said

 7       that he was able to jump out, escape out the second

 8       story window.     Jumped out -- and.

 9             MR. SRISKANDARAJAH:     Judge, I object.      This is

10       definitely hearsay, Judge.

11             THE COURT:    I know it is hearsay.

12             MR. SRISKANDARAJAH:     I understand, Judge.

13             THE COURT:    Go ahead.

14       BY MR. GILL:

15       Q     Thank you.

16             There do you see the window where he would have

17       escaped from in that photograph?

18       A     Yes, absolutely.     Especially on page 3,

19       actually.

20       Q     Look at page 2.     First slide.

21       A     Page 2.   Much better shot.

22       Q     Okay.

23       A     That would be the window of that bedroom.         And

24       closer examination of that --

25       Q     Page 3?
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                               Joseph - direct                             21


 1       A     -- siding on page 3, Raleigh Police Department,

 2       close-up here, right here, is going to this spot

 3       over here is going to be blood.        Blood spots.

 4       Q     If you will touch the lower right hand of the

 5       screen.

 6             Was the victim treated for injuries, and

 7       generally what injuries did he receive as a result

 8       of this his attack?

 9       A     He was treated as Wake Medical Hospital.         And

10       the numerous injuries across his body, severe

11       lacerations, he had a mangled ear.        Probably the

12       most severe were two injuries, were a series of

13       cracked vertebrae, as well as burn marks across the

14       torso of his body.

15       Q     You indicated that there were two calls,

16       conference calls, that were intercepted?

17       A     Yes, sir.

18       Q     Generally, did both of them follow the same

19       pattern and show the same level of violence?

20       A     When the first one ended we thought that it was

21       over.   And then the monitor immediately said that he

22       was making another call, and it was the exact same

23       in nature.    And after looking at the translation, we

24       were able to see it was the exact series of demands,

25       assaults, of warnings to other members that things
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                               Joseph - direct                             22


 1       were going to change, things needed to be tightened

 2       up, or any one of them could be in store for a

 3       beating or torture that he was delivering that night

 4       to Chingway.

 5             MR. GILL:    Your Honor, at this time we move

 6       admission of Government's exhibits number 1, a

 7       compact disc, that contains some of these recordings

 8       that are marked as Government's exhibits.         And we

 9       also move for admission of exhibit 3 and 4, which

10       are the transcripts from those recordings that Agent

11       Joseph is testifying about.

12             THE COURT:    They will be admitted.

13             MR. GILL:    At this time, Your Honor, government

14       will play the recording for Government's exhibits

15       number 4, which is call number 1 of 6, that occurred

16       roughly 6:14 p.m. October 29 of 2010.

17                             (Disc being played)

18       BY MR. GILL:

19       Q     Before we go further, please describe for the

20       Judge who the players are on the ground in the room

21       at the time this recording is being made?

22       A     According to this call, the previous call as

23       well, as well as testimony from D. S. A., we know

24       that Cruz Millan was in the room.        Chingway is bound

25       to the chair in the room.       Two individuals we have
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                               Joseph - direct                             23


 1       determined are enforcers or beaters of the

 2       organization, named Peron and Yugo.

 3             And according to D. S. A. the cell leader,

 4       Gabriel, I believe his name was.        Sorry.   That was

 5       El Gotto.

 6       Q     And according to D. S. A. testimony and the

 7       nature of the recording itself, overall, who was in

 8       charge of this from the start to the finish?

 9       A     It is very clear it is Cruz Millan is the --

10       owns the room.     He is controlling.     He is doing the

11       instructing and making phone calls.

12                           (Disc being played).

13             MR. GILL:    Your Honor, the recording is on the

14       monitor.    It follows step by step.

15             (Disc being played)

16       Q     Basically are they getting all the players?

17       Are these cell managers that you recognize from the

18       nicknames?

19       A     Absolutely.

20       Q     Panales is another?

21       A     Nariz is another cell leader.

22                             (Disc being played)

23       Q     Agent Joseph, I know this is the second call of

24       of the two, but in the first call, similar nature,

25       same type beating you can hear in the background?
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 24 of 117 PageID# 8668

                               Joseph - direct                             24


 1       A     Yes, sir.

 2       Q     Pain?

 3       A     Yes, sir.

 4       Q     Let's talk about Little Rock, Arkansas.

 5             Turning to Government's exhibits number 8,

 6       which is a few photographs from the murder location.

 7       Your Honor, we move admission of those.

 8             THE COURT:    They will be admitted.

 9       BY MR. GILL:

10       Q     Agent Joseph, in very, very quick general terms

11       tell us generally what happened at that trailer as

12       far as the organization and who were the

13       on-the-ground participants that we believe were

14       involved based on the investigation?

15       A     This is the abandoned trailer on July 6, 2010

16       where the body was discovered bound and beaten.

17       Involved in this homicide was Edy Oliverez-Jiminez,

18       Armando Gonzales Medina, and Erik Martinez-Ortiz.

19       Q     Was Edy Oliverez-Jiminez convicted at trial for

20       his role in that murder?

21       A     Yes, sir, he was.

22       Q     What was his position in the organization in

23       Little Rock at the time murder?

24       A     He was cell leader.

25       Q     The other two you mentioned?
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 25 of 117 PageID# 8669

                               Joseph - direct                             25


 1       A     Runners.

 2       Q     Per your knowledge of how the organization

 3       worked, and to be fair, is there any evidence that

 4       Israel Cruz Millan was present in Little Rock,

 5       Arkansas at the time?

 6       A     No, sir.

 7       Q     But based on your knowledge of the

 8       organization, how it works, and acts of violence,

 9       what would have been his role?

10       A     It would have been authorized.

11             MR. SRISKANDARAJAH:     I object.    That would be

12       still speculation at this point.

13             THE COURT:    Sustained.

14       BY MR. GILL:

15       Q     Agent Joseph, describe generally for Judge

16       Spencer the level of phone, telephone toll analysis

17       you did in this investigation, focusing specifically

18       on Little Rock.

19       A     This is as extensive as as I have ever

20       conducted in my career.      Specifically we analyzed

21       over 770,000 calls throughout the investigation.

22       And we pinpointed -- we were informed of this

23       homicide by Special Agent Jason Bennett.         We

24       immediately requested the victim's phone number.

25       Upon looking at that phone number we knew for a fact
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 26 of 117 PageID# 8670

                               Joseph - direct                             26


 1       that he was set up and killed by members of the same

 2       fraudulent document organization we were

 3       investigating in Virginia.

 4       Q     Now, through that toll analysis did you,

 5       including the wire intercepts and analysis, did you

 6       get an idea of Israel Cruz Millan's habits in using

 7       phones, and how long he would keep them?

 8       A     Cruz Millan got -- we have probably more than a

 9       dozen phones where we have attributed to him during

10       the investigation.     He would regularly, I mean he

11       may have a phone a month, six weeks, but regularly

12       drop the calls, drop them, get a new one.         There

13       were multiple occasions where he had -- in fact it

14       was, I would say, regular for him to have two phones

15       at one time.

16       Q     Take a look at Government's exhibit number 9.

17       Are these telephone summary charts you prepared on

18       the target cell phones that have been tied to Israel

19       Cruz Millan?

20       A     Yes, sir.

21             MR. GILL:    We move the admission of

22       Government's exhibits 9.

23             THE COURT:    They will be admitted.

24       BY MR. GILL:

25       Q     With respect to his habits that you are aware
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 27 of 117 PageID# 8671

                               Joseph - direct                             27


 1       of through the wire intercepts did Israel Cruz

 2       Millan loan his phone to others, or did he, as far

 3       as you know, maintain control and use of his phone?

 4       A     I can't think of an instance ever where he did

 5       not use -- someone else used his phone.

 6       Q     Looking at page one of exhibit 9 that is on the

 7       screen.   Describe for Judge Spencer what this shows

 8       and the time range for that particular phone.

 9       A     In order to make those 770,000 tolls visually

10       understandable, we compressed them into these

11       charts.

12             And you will see a pattern as we go through

13       each one.    This first one here shows target cell

14       number two, the first line that we intercepted Cruz

15       Millan using, (916) 310-7536.       And the date

16       represents the life of the phone.        This follows the

17       period of time that we intercepted, although we

18       intercepted within it.      But what we are showing here

19       illustrating is in-coming out-going calls, texts, or

20       essentially contacts with his cell managers.

21             As I said before, he was a micro manager.         He

22       was on top of these guys, talked to them quite

23       often.

24             Going into the circle at the time, these were

25       the cells operating the organization.
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                               Joseph - direct                             28


 1             Starting at the top left.      Wilmington, North

 2       Carolina.    Going right.    Little Rock, Arkansas.

 3       Lexington, Kentucky.      Virginia Beach, Virginia.

 4       Providence, Rhode Island.       All managers.

 5             Phone, Raleigh, North Carolina.        Louisville,

 6       Kentucky.    Michelon, Indiana, Richmond, Virginia.

 7       Fayetteville, Arkansas.      Nashville, Tennessee.

 8       Chelsea, Massachusetts, which is right outside

 9       Boston.   Cincinnati, Ohio.      Manassas, Virginia.

10       Greensboro, North Carolina.       And St. Louis,

11       Missouri.

12       Q     Now, look at page two of exhibit 9.

13       A     Again, a pattern will develop here over the

14       next several exhibits.      But on this particular

15       target cell phone two, what is highly significant is

16       is we are seeing calls with the person who is the

17       leader of this organization in Mexico who we have

18       intercepts on.

19       Q     Is that first, at the top, the member, and has

20       a Mexican phone number?

21       A     That's correct.     That's correct.     Sorry.

22             And down here below we have Cruz Millan's

23       mother.   We have intercepts with him talking to his

24       mom where she clearly identifies him as her son.           He

25       identifies her as his mother.       And again, this will
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 29 of 117 PageID# 8673

                               Joseph - direct                             29


 1       become more significant over the next two slides.

 2       Q     Okay.

 3             Then turn to page 3 of exhibit number 9.

 4       A     Again, you see the same pattern.        If we compare

 5       this to the very first one, these boxes have not

 6       changed.    They are in the same position and same

 7       color.   You compare them side by side, they are

 8       nearly identical.     I won't go through them all

 9       again, but he is again talking to all the cell

10       managers on the that new phone.        (804) 972-XXXX.

11       That date range is September 13 through November 9

12       of 1020.

13       Q     Look at page 4, which is also four target cell.

14       A     Again, seeing something that is highly

15       significant.    Talking to his mother on this phone.

16       Again, we have those intercepts, very clear.

17       Continue on?

18       Q     At the time he would have had this particular

19       phone target cell phone number 4, based on his

20       habits and how you know it works, would he have had

21       other lines as well?

22       A     Absolutely.    He did have another line, cell

23       phone number 5.     We intercepted them together.

24       Q     Look at the page.     Next page, which is page 5

25       of the exhibit.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 30 of 117 PageID# 8674

                               Joseph - direct                             30


 1       A     You see the date range.      October 14 through

 2       October 30.    This was his least-used telephone.          You

 3       will see we are missing some boxes here.         Again, it

 4       was the least-used phone, significantly, but you

 5       will see the remainder of these other boxes are in

 6       the same place, same color, and he is doing the same

 7       communication with these cell leaders.

 8       Q     Look at page 6, which is target cell phone

 9       number 5 for the same date range.

10       A     Again, the same trend.

11             Leader in Mexico appeared at the top.         And,

12       again, his mother down here.       Again his mother's

13       phone number actually we were able to recover from a

14       VISA application that he issued for some years ago

15       that he listed that as his home number in Mexico.

16       Q     Look at page 7 of exhibit 9.       This target cell

17       phone number 6.

18       A     This is a cell phone we intercepted on

19       (910)443-7863, October 13th through November 18,

20       which was, of course, take-down.        And, again, you

21       will see the same boxes in the same places, same

22       colors.

23             This shows patterns, the persons, the people he

24       talked to no matter what phone he is using.

25       Q     And then the final page of that exhibit, page
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 31 of 117 PageID# 8675

                               Joseph - direct                             31


 1       8.

 2       A     Again, leader in Mexico.      Down here talking to

 3       his mother.    And even more significant, these

 4       numbers, he talked to his mom on, out of 770,000

 5       tolls, in excess of 770,000 tolls, these numbers

 6       associated with Mrs. Millan are the only -- are only

 7       talking to phones that we know to be associated with

 8       Israel Cruz Millan.

 9       Q     Now, through your toll analysis, were you able

10       to identify the numbers you believe Israel Cruz

11       Millan was using at the time of the Arkansas murder?

12       A     Absolutely.

13       Q     Look at exhibit number 10.       Tell us what that

14       is.

15             If we could see page two of that.

16       A     Looking at the tolls.      The call activity

17       stemming from the victim in Little Rock, Arkansas,

18       which we will get to in a little bit.         The cell

19       leader, we were able to isolate this number, more or

20       less jumped out at us.      This number matched the same

21       call pattern as Cruz Millan.       We were not

22       intercepting at the time.       But the call pattern was

23       there.   Again, he is talking to all of his cell

24       managers, or the majority of them, at that time.

25       Q     The date range is what?
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 32 of 117 PageID# 8676

                               Joseph - direct                             32


 1       A     May 1st through July 12, 2010.

 2             MR. GILL:    We move for admission of exhibit 10.

 3             THE COURT:    It will be admitted.

 4       BY MR. GILL:

 5       Q     Look at page 2 or page 1.

 6       A     So, of course, we looked at that and realized

 7       it was a leader phone.      We dug in even more.      This

 8       chart absolutely confirmed it.       Again, the leader in

 9       Mexico, which anybody could have talked to, but,

10       again, this is a real convincing piece of analysis

11       that we discovered was Cruz Millan's mother, talking

12       to Mrs. Millan on that phone, really cementing the

13       fact that was in fact his phone.

14       Q     In fact, it has numbers on there.        Would those

15       reflect the number of contacts, roughly, back and

16       forth, 77 for one line tied to this number and 50

17       for another line?

18       A     That's correct.

19       Q     Now, let's look at exhibit number 11.

20             Agent, is this a summary of the numbers

21       connected to some key players back in July of 2010

22       In relation to the murder investigation?

23       A     Yes, it is.

24             MR. GILL:    Your Honor, we move admission of

25       exhibit eleven.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 33 of 117 PageID# 8677

                               Joseph - direct                             33


 1             THE COURT:    It will be admitted.

 2       BY MR. GILL:

 3       Q     Generally describe this for us.

 4       A     All right.

 5             Cruz Millan, again we know using that number

 6       (919)240-1780, again, Edy Oliverez-Martinez, the

 7       gentleman convicted of the homicide.         He was also

 8       cell manager, and then to his right, we have Armando

 9       Gonzalez Medina, and Erik Martinez-Ortiz.         Those

10       were his runners.

11       Q     With respect to these three numbers below those

12       individuals, are those the ones through testimony at

13       trial from S. O. as well as contact information and

14       other avenues that they were identified as being

15       connected to those phones?

16       A     Absolutely.    These were in fact phone numbers

17       they used at that time.

18       Q     Now, look at exhibit number 12.        Tell us

19       generally what exhibit 12 is, Agent Joseph.

20       A     12.   This is what I refer to as toll records.

21       These are toll records.      These are specific reports

22       that we ran to isolate certain numbers.         What is

23       shown here is, we took the target cell phone number,

24       which belonged to Pascal Ramos, the victim of the

25       homicide.    And it shows contact.      This is what got
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 34 of 117 PageID# 8678

                               Joseph - direct                             34


 1       us going on the common link between that homicide

 2       organization.     We see that Pascal Ramos received an

 3       in-coming call right here on from Edy

 4       Oliverez-Jiminez on the 4th of truly.         Three minute

 5       conversation.     Followed by several other calls

 6       throughout that day.      Some short in duration.      Some

 7       long.

 8       Q     Is page 2 included contacts between Edy

 9       Oliverez-Jiminez number and the number that you

10       believe is connected to Cruz Millan?

11       A     Again, that was toll records isolating these

12       two numbers from a date range of July 4 of 2010

13       through July 6 of 2010.

14             MR. GILL:    We move admission of exhibit 12.

15             THE COURT:    It will be admitted.

16       BY MR. GILL:

17       Q     Sergeant -- Agent Joseph, I want to break this

18       up into three parts.      From the outset is it fair to

19       say that this summarizes calls between those two

20       numbers for the dates July 4 through July 6 of 2010?

21       A     Exactly what it is.

22       Q     Okay.

23             Beginning with July 4 tell us generally, do you

24       see any contact between those two numbers and in

25       relative close proximity to the time period that Edy
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 35 of 117 PageID# 8679

                               Joseph - direct                             35


 1       Oliverez-Jiminez was calling the murder victim on

 2       page one of this exhibit?

 3       A     Absolutely.    I mean, we see calls starting late

 4       afternoon going into evening between Cruz Millan and

 5       Edy Oliverez-Jiminez throughout the 4th, even going

 6       into the 5th, as far as midnight.

 7             He was also -- the chart we just showed,

 8       between the victim and Edy Oliverez-Jiminez were in

 9       that late afternoon, early evening time frame.

10       Q     Now, talk about July 5, which would have been

11       the day before the murder.       If you would take your

12       finger and drop it down the side on the far right of

13       the calls you are going to be talking about in

14       relation to that.     And particularly tell us about

15       the length of the calls at the end of that night,

16       the very night before the murder occurred.

17       A     Well, those were, of course, the two calls that

18       really got our attention.       As we are looking at the

19       call pattern activity between this number, which we

20       believe was highly important, both numbers of course

21       being important, but one being possessed by Cruz

22       Millan.    There is a substantial phone call late

23       night.    Not that late, but I guess 8:00 o'clock and

24       10:00 o'clock.     In duration 8 minutes 40 seconds, 6

25       minutes 32 seconds.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 36 of 117 PageID# 8680

                               Joseph - direct                             36


 1       Q     Were there any other calls after that last

 2       lengthy call that was at roughly 10:39 p.m. the

 3       night before the murder?

 4       A     No, there wasn't.

 5       Q     In fact, now moving down to July 6 of 2010.

 6       Tell Judge Spencer about the next calls that were

 7       placed, and who was placing those calls.

 8       A     Again, we are looking at the tolls of Edy

 9       Oliverez-Jiminez.     He received an in-coming call on,

10       starting at 1:16 and followed again at 1:18.          Those

11       two time frames being extremely significant because

12       we know the testimony of Adrian Saha at trial, who

13       is a, with Pascal Ramos when he was assaulted.          That

14       the attack occurred at approximately 1:00 o' clock.

15       Q     This 1:18 call and the 1:16, are we going to

16       come back to those in just a moment?

17       A     Oh, yes.    Absolutely.

18       Q     Okay.

19             And then the final call for July 6 of 2010.

20       Length of that call?

21       A     We have an eleven-minute call, 11 minute 8

22       second call.

23       Q     Now, turn to exhibit number 13.        Fair to say

24       these are generally summaries of cell tower records

25       just right around the time of the murder?
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                               Joseph - direct                             37


 1       A     Yes.   These --

 2             MR. GILL:    We move admission of exhibit 13.

 3             THE COURT:    They will be admitted.

 4             THE WITNESS:    This chart was created by FBI

 5       Special Agent Creasy of the cellular analysis of the

 6       survey team in Washington, D. C.

 7       BY MR. GILL:

 8       Q     Before we get to the no connects, if you would,

 9       just tell us about the three pages that are

10       connected to that, and what they are for that

11       exhibit.

12       A     What number are we at?

13       Q     This is exhibit number 13.

14       A     All right.

15             What we are seeing here is --

16       Q     This on page two of exhibit 13.

17       A     Two, three and four.      I will summarize these

18       together to save time.

19             What these show, this is a map of Little Rock

20       Arkansas, specifically 9500 South Ice, represented

21       in the dead center here, which is, of course, the

22       abandoned trailer where the body was discovered.

23             What this chart and these three charts are

24       going to illustrate is what we all have when we use

25       our cell phones, specifically at our home regarding
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 38 of 117 PageID# 8682

                               Joseph - direct                             38


 1       patterns of life.     We all have essentially a home

 2       tower.   Our phone, all our phones are built, or they

 3       connect to the closest geographical tower, like to

 4       wherever we are, like our home if -- where we make

 5       the majority of our calls.

 6             This chart shows that the base line, it is the

 7       address is, has actually two home towers which is

 8       going to be showed by this purple, as well as this

 9       blue one over here.      You can see the base line road

10       is located in the middle of those two towers.          Even

11       more closely you can see it is almost identical

12       geographic distance to the two towers.         Showing that

13       it would not only be -- I mean it would be

14       absolutely typical, it would be regular that this

15       phone would regularly bounce off of these two towers

16       when making phone calls.

17       Q     And do those pages 2, 3, 4, show connections

18       with the phone numbers associated with Edy

19       Oliverez-Jiminez, Armando Gonzales Medina, and Erik

20       Martinez-Ortiz as connecting with those covering the

21       murder location in the times leading up to and times

22       after the murder?

23       A     Per Agent Creasy's testimony and analysis it

24       shows that those three individuals were extremely

25       high probability they were located within that
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 39 of 117 PageID# 8683

                               Joseph - direct                             39


 1       overlap during the time of the homicide, and both a

 2       little before and after.

 3       Q     Look at page one of exhibit 13.

 4       A     All right.    Again, this is -- this is a chart

 5       showing what they refer to as cell phone world, as

 6       no connect.    We have all had a phone call we placed

 7       and before we hit the button it doesn't go or

 8       somebody says they tried to call us and it just

 9       doesn't go through.      That occurs when the phone has

10       no signal or the phone is turned off.

11             What this chart shows is there is very, very

12       strong indication that those phones were turned off

13       at the time that Pascal Ramos was abducted and

14       assaulted and killed.

15             There is one very significant exception in this

16       black zone right here on this.       It is call 136.     It

17       shows --

18       Q     The asterisk down below, what does it show?

19       A     It says at 1:18 p.m. Edy Oliverez-Jiminez

20       received a 50-second phone call from (919)240-1780,

21       Cruz Millan, which did go through and did hit off

22       the home tower.

23       Q     So that is shown by that middle row, no

24       connects from 12:00 o'clock to 2:00 o'clock p.m. at

25       the time of the murder.      All three phones connected
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 40 of 117 PageID# 8684

                               Joseph - direct                             40


 1       with those individuals we believe were on the

 2       ground, were turned off, were not able to receive

 3       calls that were coming in with that one exception?

 4       A     One exception.

 5       Q     Now, then, were you able to confirm Israel Cruz

 6       Millan's role in the aftermath of the murder, you

 7       know, what did he do with respect to the cells?

 8       A     Following the homicide he ordered Edy

 9       Oliverez-Jiminez, Armando Gonzalez Medina and Erik

10       Martinez-Ortiz to leave Little Rock.         Sent them to

11       Virginia.

12       Q     Take a look at exhibit number 14.

13             MR. SRISKANDARAJAH:     Objection.     Sorry.   To be

14       clear, I object to the statement that he ordered

15       them to leave.     There is absolutely no evidence he

16       ordered them to leave.

17             THE COURT:    All right.

18       BY MR. GILL:

19       Q     Agent Joseph, is this summary of the movement

20       that you found based on cell tower records, cell

21       ledgers, and testimony?

22       A     Exactly what this is.

23             MR. GILL:    Your Honor, we move admission of

24       exhibit 14.

25             THE COURT:    It will be admitted.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 41 of 117 PageID# 8685

                               Joseph - direct                             41


 1       BY MR. GILL:

 2       Q     Please look at page one.

 3       A     Just a simple chart showing exit from Arkansas

 4       to Virginia on these dates.       Again, confirmed by the

 5       cell towers, the cell tower analysis, the ledgers,

 6       and the testimony of several phone records -- this

 7       shows July 16, talking about the departure date,

 8       arrival in Virginia on July 23rd.

 9       Q     Look at page two.     Goes further to show that a

10       swap, a switch, did take place on July 26th

11       consistent with, again, testimony, cell tower

12       ledgers, Alphonso Alcaraz-Palomares, Ricardo Patino

13       left Virginia with his runner, J. M. M., and

14       arriving in Little Rock on or about July 29 of 2010.

15             In fact, did J. M. M. testify at trial about

16       this switch?

17       A     He did.

18             MR. GILL:    Your Honor, I turn The Court's

19       attention to exhibit 17 pages 43 and 46.

20             Page 43, J. M. M. testifies about seeing Edy

21       Oliverez-Jiminez when he arrives in Virginia Beach

22       on the same day that he and Ricardo Patino left to

23       go to Arkansas.     And that occurred at a Food Lion.

24       And then on page 46 the question was asked, "When

25       you saw Arasmo at the Food Lion at the end of July,
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 42 of 117 PageID# 8686

                               Joseph - direct                             42


 1       where had he come from?

 2             "Answer:    Well, I believe from Arkansas to

 3       Little Rock.

 4             "Question:    On the same day you saw Arasmo at

 5       Virginia Beach did you see anybody else that you had

 6       met in Little Rock the the first time you came in?

 7             "Answer:    I think Peruse was there."

 8             Who is Persue?

 9       A     Eric Martinez-Ortiz.

10       Q     "Question:    Where did you see Peruse?

11             "Answer:    When we left we went to Wa Wa, and I

12       believe I saw Muerto there."

13             In fact we have his testimony at trial and in

14       debriefs, did he also talk about admissions that

15       were made by Martiniz-Ortiz about what happened in

16       Little Rock during that meeting at the Wa Wa?

17       A     He did.

18       Q     Were there also wire intercepts that were

19       retrieved through court-authorized wire taps that

20       referenced, you know, the July 6 of 2010, you know,

21       murder.   In very general terms, but also the switch

22       that we have been talking about?

23       A     Yes, there were.

24             MR. GILL:    Your Honor, I turn The Court's

25       attention to exhibits 15 and 16.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 43 of 117 PageID# 8687

                               Joseph - direct                             43


 1             We move for admission of both those at the

 2       time.

 3             THE COURT:    They will be admitted.

 4       BY MR. GILL:

 5       Q     And first with respect to exhibit 15, Agent

 6       Joseph, if you would tell us who is on that call and

 7       when it occurred.

 8       A     This is call between Edy Oliverez-Jiminez and

 9       Pableto or Armando Gonzalez Medina.        That call

10       occurred September 15 of 2010.

11       Q     Turn your attention to the bottom of page 3.

12       Beginning at line 40, and then going to go over to

13       page 4 down to about line 27 or 28.        If you would,

14       you know, using that as reference, explain to Judge

15       Spencer what it is that is going on in this

16       conversation.     What are they talking about?

17       A     To me they are talking about there was an

18       incident.    They were referring to something that --

19       an incident they had both.

20             MR. SRISKANDARAJAH:     Judge, I object.      He

21       doesn't know.

22             THE COURT:    Okay.

23       BY MR. GILL:

24       Q     Agent Joseph, with respect to that conversation

25       beginning on page 3 Daniel is Edy Oliverez-Jiminez?
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                               Joseph - direct                             44


 1       A     That's correct.

 2       Q     And Pableto is Armando Gonzales Medina?

 3       A     Yes, sir.

 4       Q     Beginning on that page they are talking about

 5       Pinya.   And Pinya doesn't "give a shit."        Who is

 6       Pinya in relation to this, these individuals?

 7       A     Pinya was Alfonso Alcaraz Palomares, who at the

 8       the time of the call was cell leader in Little Rock

 9       Arkansas.

10       Q     Pableto, Armando Gonzales Medina, says "They

11       are back, because," and then the next page, page

12       four, "Daniel," Edy Oliverez-Jiminez, says, "but

13       you" -- Pableto says, "What about me?

14             "Daniel:    You were the one who wanted to kick

15       those guys ass."

16             Pableto says, "You dude, you were there, too,

17       don't bull shit.     No fucking."

18             Muerto said "that -- and fuck it, whoever

19       doesn't can leave.     But either way he sent all of us

20       to hell, dude."

21             Based on the context of the conversation and

22       your knowledge of the investigation --

23             MR. SRISKANDARAJAH:     Judge, again --

24             THE COURT:    Sustained.    It is what it is.

25       BY MR. GILL:
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                               Joseph - direct                             45


 1       Q     Beneath that it refers to being sent where they

 2       were sent, South End, Lafayette and other places.

 3             And, Your Honor, I will have The Court read

 4       that segment.     I am sorry.

 5             THE COURT:    All right.

 6       Q     Okay.

 7             And then let's talk about exhibit 16.         Tell us

 8       about who the participants are in this conversation

 9       and the date.

10       A     This call occurred November 10 of 2010.         Call

11       between Israel Cruz Millan and Edy Oliverez-Jiminez.

12       Q     We are gong to play a short portion that goes

13       from roughly line 30 on page four and continues over

14       to page 5 line 15.

15                             (CD being played).

16       Q     In that conversation there is a reference to a

17       guy that was left over in Little Rock.         Putting

18       aside that conversation, are you aware of anyone who

19       was left over --

20       A     Absolutely.

21       Q     -- during the murder?

22       A     Absolutely.

23             MR. SRISKANDARAJAH:     Judge, I would submit to

24       The Court this is again, as The Court stated, it is

25       what it is.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 46 of 117 PageID# 8690

                               Joseph - direct                             46


 1             THE COURT:    No he can talk about it.

 2             THE WITNESS:    He was a juvenile victim with

 3       Ramos at the time of the assault and homicide and

 4       testified at trial in November.        He survived.

 5       Q     Now, I want to turn to Nashville, Tennessee.

 6       Agent Joseph tell Judge Spencer who was in charge of

 7       that cell leading up to the time of a take-down, and

 8       generally what was going on in Nashville just before

 9       the take-down.

10       A     These calls were to the guy who was running the

11       cell out there in Nashville.       Very clear from the

12       intercepts they were having major issues of

13       competition.    They were -- these calls are about

14       cleaning against the competition, leading up to,

15       fortunately, take-down November 18, which actually

16       stopped the attack on them.

17       Q     Your Honor, we move the admission of exhibit 20

18       and 21, which are the wire intercepts related to

19       events occurring in Nashville, Tennessee.

20             THE COURT:    They will be admitted.

21       BY MR. GILL:

22       Q     And we are going to play exhibit number 20.

23             Before that starts, what is the date of this

24       call?   Who is on that call?

25       A     Again, it is Cruz Millan on the target phone,
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 47 of 117 PageID# 8691

                               Joseph - direct                             47


 1       six conversations with Yvonne Rock Curry, Sam,

 2       November 11.

 3       Q     At this point, Agent Joseph, did you see

 4       anything in your investigation that mirrored up with

 5       other patterns you had seen with this organization?

 6       A     Two things immediately popped up.        Talked about

 7       prepaid phone, getting a phone and then when Cruz

 8       Millan referenced finding an empty house to have a

 9       party.   So very consistent with the Richmond assault

10       as well as what occurred.

11             MR. SRISKANDARAJAH:     Judge, I object again.

12       There is evidence that leads -- to make that leap.

13             THE COURT:    No, he can testify.

14                             (CD being played).

15       BY MR. GILL:

16       Q     Okay, Agent.

17             Let's turn to exhibit 21, which we are not

18       going to play for The Court, but we ask Your Honor

19       to turn to page two.      That is a very short call.

20             To move things along, Agent Joseph, describe

21       for us in this call between Muerto the defendant and

22       Feo, the manager in Nashville, November 14 or 2010.

23       Who they are talking about and what, based on your

24       knowledge and context of the conversation, this

25       refers to.
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                               Joseph - direct                             48


 1       A     Again, short conversation following

 2       November 14, following the previous intercept.

 3       Talks about, references who we determined are

 4       enforcers, cleaners in the organization.         Pretty

 5       much going, talking, the talk is proceed with a

 6       mission, proceed with the cleaning, competition,

 7       clean-up competition.

 8             It also says, referenced they are going to make

 9       sure they take the machine with them.         Which would

10       be consistent with what we have seen on other acts

11       of violence perpetrated by the FEO.

12       Q     Being the printing equipment, the machine?

13       A     That's correct.

14       Q     Let's talk about events that occurred in

15       Kentucky, September 24 through 26 of 2010.          Take a

16       look at exhibit 25.      Is this a summary of selected

17       calls as well as the actual transcripts for those

18       calls?

19       A     Yes, sir, it is.

20             MR. GILL:    Your Honor, we move admission of

21       exhibit 25.

22             THE COURT:    It will be admitted.

23       BY MR. GILL:

24       Q     If you would describe for Judge Spencer who the

25       players are, and generally what is going on in that
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 49 of 117 PageID# 8693

                               Joseph - direct                             49


 1       area from September 24th to 26th of 2010.

 2       A     Again we are looking at another act of violence

 3       between Cruz Millan and the Louisville cell leader,

 4       Ramirez and -- just to go through the high points?

 5       Q     The high points.     And the first call is

 6       September 24th of 2010 at 3:39 p.m. between those

 7       two individuals?

 8       A     Again, this is specifically reference's

 9       competition.    I am going to read, for time's sake,

10       go over some main point.

11             The number you guys gave me belong to the

12       competition.    Okay.    Reference competition Ramirez,

13       you know, says, no, no, that is the one of the

14       competition.    Again, very clear they are talking

15       about problems they have had very consistent through

16       out the organization.      Further on the same call,

17       competition works here.      Ramirez has their license

18       plates already.     He knows the cars, everything.

19       Q     Then on page two at the top.

20       A     Muerto says, you know, well, they are going to

21       kick their fucking ass right now.        So that is the

22       phone number.     Again, all comes back to phone

23       numbers vetting out the competition.         Wants to know

24       if in fact it is legitimate.       And they move forward.

25       Q     And then next the call that occurred on
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 50 of 117 PageID# 8694

                               Joseph - direct                             50


 1       September 26 of 2010 at 12:17 p.m. Between the

 2       defendant and Kevin Ramirez?

 3       A     References competition.      References printer

 4       used by the competition.      Talks about having a bat

 5       in the car.    You know, talking about assholes they

 6       are dealing with.     Muerto replies, yes, 'bro.       And

 7       long screwdrivers.     Kintano says further in the

 8       call, we are carrying a tool box and the knives in

 9       the tool box, and has them at hand for when they

10       encounter these guys.

11       Q     Continuing over to page three.

12       A     Kintano Ramirez says, we have a machine there

13       so they can do illegal documents and are selling it

14       for $5,000.

15             Going down to the bottom.      We will be alert.

16       Get that address, even better.       This is the way --

17       this way we will go after that asshole.

18             Very malicious, very direct and --

19             MR. SRISKANDARAJAH:     Judge, I object.      Judge --

20             THE COURT:    Sustained.    Don't editorialize.

21             THE WITNESS:    Yes, sir.

22       BY MR. GILL:

23       Q     And then next call, bottom of the page,

24       September 26 of 2010 at 12:21 p m.

25       A     Continuing the conversation on the competition.
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 51 of 117 PageID# 8695

                               Joseph - direct                             51


 1       Bringing the bats.     Ramirez says, bring the bats.

 2       Says bring the bats.      Honestly it is hot right now.

 3       Honestly the police is really hot right now.

 4       Q     And then turn to page 4, September 26 of 2010,

 5       call at 12:33 p m between the defendant and again

 6       Kantano Ramirez.

 7       A     Again, reference the city where this

 8       competition exists.      Down a few lines.     Muerto

 9       references, the thing is, we are going to capture

10       the competition in Covington.       Covington is a city

11       in Kentucky.

12             Muerto continues.     Yes, we already know where

13       the house is.     So there has been work from the very

14       first call to this point that they have been digging

15       up this information and figuring out.         And goes on

16       to talk about the actual operation.        Muerto suggests

17       that, they actually instruct --

18       Q     Turn to page five.

19             Generally explain for us what the discussion is

20       and the importance of a woman to the operation that

21       measures up to what happened other places.

22       A     Muerto instructing Ramirez to find a Mexican

23       girl, which I understand and have understood through

24       the investigation they find a female to make the

25       call to buy counterfeit documents.        Females simply
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 52 of 117 PageID# 8696

                               Joseph - direct                             52


 1       is unassuming, it is less memorable, they --

 2              MR. SRISKANDARAJAH:    I object to that.

 3              THE COURT:    Sustained.   We can get through this

 4       a lot quicker if I do the analysis and not the

 5       witness of the evidence.      All right.     So let's -- I

 6       can read it.    I understand.

 7              MR. GILL:    Okay, Your Honor.

 8              Then, Your Honor page 6.     I won't have the

 9       agent testify about that, but that is the conclusion

10       of the conversation.

11              THE COURT:    All right.

12       BY MR. GILL:

13       Q      Let's talk about Agent Joseph, Boston,

14       Massachusetts, and what was happening in Boston

15       October 10 through 12th of 2010.

16       A      Summary is very similar to the call that we

17       just, series of calls we talked about.         The Boston

18       group encountered some competition significantly

19       underselling.      They were selling the documents for a

20       hundred dollars, which would have been $60 less than

21       what Cruz Millan's organization was selling them

22       for.

23       Q      Okay.

24              Your Honor, we move for the admission of

25       exhibit number 26 which is the summary of selected
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 53 of 117 PageID# 8697

                               Joseph - direct                             53


 1       excerpts as well as the transcripts underlying those

 2       excerpts.

 3       A     They will be admitted.

 4             MR. GILL:    Generally with respect to Boston,

 5       Your Honor, I could have him testify or generally

 6       what happened at the conclusion, or give The Court a

 7       moment to read through those.       However you would

 8       like to proceed.

 9             THE COURT:    I will read them.

10             MR. GILL:    Okay.

11             We are getting close to the end.

12             THE COURT:    All right.

13       BY MR. GILL:

14       Q     Okay.

15             Then, Agent Joseph, I now want to talk to you

16       about the amount of documents moved by the

17       organization and money laundering.

18             First off, describe for Judge Spencer during

19       the investigation were you and the other lead

20       investigators able to derive an estimate of the

21       number of documents being moved by the organization?

22       A     Yes, sir.

23       Q     What information did you rely upon, and what

24       number did you come up with?

25       A     Following the enforcement activity, and after
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                               Joseph - direct                             54


 1       analyzing the results, items seized from search

 2       warrants, combined evidence found, analysis of the

 3       ledgers, financial work showing volume of wire

 4       transfers sent, other expenditures, tabulated the

 5       organization very conservatively sold 15 to 20,000

 6       counterfeit documents annually.

 7       Q     Agent Joseph --

 8             MR. SRISKANDARAJAH:     I object to that.      The

 9       reason being is that the cross over, what they look

10       at, what they give this Court, has no criteria or

11       formula that they used to come up with that number.

12       They look over this -- they looked over that, and

13       then they come up with a number.        There is

14       absolutely no foundation for number, other than

15       their own --

16             THE COURT:    You can inquire into the specifics

17       in your cross examination.       I understand what it is.

18       It is an estimate, and I will receive it.

19             Go ahead.

20       BY MR. GILL:

21       Q     Look at exhibit number 27.

22             And, Your Honor, we move for admission of

23       exhibit 27, which is the analysis based on ledgers

24       received in the investigation.

25             THE COURT:    They will be admitted.
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                               Joseph - direct                             55


 1       BY MR. GILL:

 2       Q     Agent, please explain what we are looking at

 3       and how this chart was --

 4       A     This is a breakdown of our more long-term

 5       cells, the analysis of the ledgers that we recovered

 6       on the search warrants on November 18.

 7             On the left side shows the cell.        In the middle

 8       shows the date range covered by that ledger.          The

 9       middle here shows the approximate, or exact number

10       of documents found, counted, tabulated, from these

11       ledgers.    We broke that down by average document

12       sold a day and multiplied by the days of the year,

13       giving us an approximation of annual documents sold.

14       That number totals 18,354 documents, which would

15       have been right in the middle of our range, our

16       conservative estimation of 15 to 20,000 annually.

17       Even more significant to that is we excluded five

18       other cells from the equation.

19       Q     Are those the cells there?       Scroll down.    Those

20       sales listed at the bottom, those weren't included

21       in this analysis?

22       A     Correct.

23       Q     Are some of those cells actually very active,

24       but we didn't recover the ledgers?

25       A     Absolutely.    Raleigh was as large, or second to
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                               Joseph - direct                             56


 1       Richmond in size.

 2       Q     Finally, with respect to the accuracy of the

 3       numbers that would have been in the ledgers that

 4       were counted, how accurate are the numbers in those

 5       ledgers?

 6       A     Oh, the numbers in ledgers are incredibly

 7       accurate.    They had to be accurate or they were

 8       subject to audit, and disciplined by Cruz Millan.

 9       Q     Now then, through the investigation were you

10       able to identify Western Union as being used to

11       transfer some of the proceeds of the organization

12       back to Mexico?

13       A     Yes, sir.

14       Q     How was it you were first able to identify that

15       connection?

16       A     Within the first week of interception Special

17       Agent Joe Clements, another co-case agent in charge

18       of the financial investigation, he immediately was

19       able to essentially crack the code on, through these

20       intercept text messages, wire communications as

21       well, breaking down the exact method that these guys

22       were using to send money.       It all centered around

23       the Western Union transaction number.

24             Further, you know, it involved the amount, the

25       specific amounts that were sent.        And the
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                               Joseph - direct                             57


 1       spending -- they were sending.       He was able to find,

 2       again, very conservative estimate, over a million

 3       dollars, a little over a million dollars wired to

 4       Mexico in a three-year period.

 5       Q     Thank you.

 6             Government's exhibits 28 is the total analysis

 7       you just described, including the back-up

 8       documentation for the Western Union transaction?

 9       A     This is the work Agent Clements has prepared;

10       that is correct.

11             MR. GILL:    We move admission of exhibit 28.

12             THE COURT:    It will be admitted.

13       BY MR. GILL:

14       Q     Does exhibit 28 include the numbers for

15       basically the transactions that were intercepted off

16       the wires?

17       A     It does.    $54,230.

18       Q     And then transactions that were identified

19       through analysis of significant telephone numbers

20       that were identified as being enterprise phones

21       during the investigation?

22       A     It does.    $421,447.

23       Q     Finally, an amount that was determined based

24       off the common recipients that were identified in

25       Mexico who would have been receiving these
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                               Joseph - direct                             58


 1       transfers?

 2       A     Yes, sir.    $571,800, or $864.

 3       Q     Grand total of January 1 of 2008 through

 4       November 18 of 2010, $1,047,541 and one penny?

 5       A     That is it.

 6       Q     Now, finally was the defendant Israel Cruz

 7       Millan interviewed November 18 of 2010?

 8       A     He was.

 9       Q     Was -- did he waive his Miranda rights and

10       agree to talk to investigators?

11       A     He did.

12       Q     Was there an FBI agent who is fluent in Spanish

13       interpreting?

14       A     Yes, sir.

15       Q     I want to get a couple aspects of that

16       interview.    Number one, what did he claim as far as

17       how long he had been the leader of this

18       organization?

19       A     He said that he assumed command around August

20       of 2010.    So it would have been, he would have,

21       according to his debrief he rose to the level of

22       leader from never being involved in the organization

23       in August and assumed control of the group.

24       Q     In fact, during that interview did he claim

25       prior to August of 2010 that he had not been
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                               Joseph - direct                             59


 1       involved with this group?

 2       A     He advised he came here in late spring, was

 3       buying cars here and transporting them to Mexico and

 4       selling them across the border.

 5       Q     Did he make admission during that interview

 6       with respect to use of Western Union to send money

 7       back to Mexico?

 8       A     He did.

 9       Q     How much did he admit to his being responsible

10       to move on a bi-weekly basis?

11       A     He was demanded to send back to Mexico 15,000

12       every two weeks, which was incredibly consistent

13       with what Special Agent Clements discovered in his

14       financial investigation; almost to the number.

15       Q     In fact, does that work out to roughly, based

16       off the defendant's own number, $360,000 per year?

17       A     That's correct.

18       Q     Was he also interviewed about whether violence

19       was used internally in the organization?

20       A     He was asked.

21       Q     Tell Judge Spencer what he said with respect to

22       use of violence.

23       A     Initially said violence was not used in the

24       organization.     That if somebody was caught stealing

25       they would be kicked out of the group, and that
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                               Joseph - direct                             60


 1       other people handled competition.

 2       Q     Was there anything that happened during the

 3       interview that changed his view on that answer?

 4       A     Absolutely.

 5             Special Agent Clements played a -- the

 6       recording, the intercept of the calls that we heard

 7       regarding the Raleigh beating.       At the time he

 8       played it Special Agent Clements informed me that

 9       Cruz Millan's body shrugged, slumped, dropped his

10       head, and then recanted his statement that violence

11       was in fact used.

12       Q     Generally, what did he say was going on in

13       Raleigh, North Carolina?

14       A     He said that the victim was Chingo -- we heard

15       Chingway -- Chingo was being punished, but he wasn't

16       the primary assaulter, he was -- it was mostly being

17       done by guys named Perone and Yucca, the enforcers,

18       and he actually stopped the beatings, the assault,

19       because he didn't feel it was right.

20       Q     Did that conflict with other aspects of your

21       investigation?

22       A     Which?

23       Q     That answer.

24       A     Inconsistencies were throughout.

25       Q     No further questions, Your Honor.
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                               Joseph - cross                              61


 1             THE COURT:    All right.

 2                              CROSS EXAMINATION

 3       BY MR. SRISKANDARAJAH:

 4       Q     Thank you, Your Honor.

 5             The Court's indulgence, Your Honor.

 6             Agent, you said that Mr. Millan was the head of

 7       the organization.

 8       A     Domestically.

 9       Q     Domestically.

10             But you do admit that he got all of his orders

11       from the person in Mexico?

12       A     I wouldn't say all of his orders.

13       Q     Isn't it true that you were advised by

14       Mr. Millan that he did, he only did what he was told

15       to do?

16       A     That might be what he said in the debrief, but

17       we intercepted calls with an individual who was

18       clearly the leader in Mexico.       He did hand down

19       instructions.     Cruz Millan also took care of a lot

20       of the -- the ledgers, significant other daily

21       operations on his own.

22       Q     But the objectives were handed down by the boss

23       in Mexico; correct?

24       A     On occasions they were.

25       Q     Okay.
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                               Joseph - cross                              62


 1             Now, turning to Little Rock.

 2             Isn't it true that nobody at no point has tied

 3       Mr. Millan to the Little Rock.       That was the

 4       co-defendant.

 5       A     As far as being physically present?

 6       Q     Yes.

 7       A     No, he was not physically present.

 8       Q     In fact, nobody has said that Mr. Millan even

 9       really knew about the incident prior to it occurring

10       in Little Rock; isn't that true?

11       A     Repeat that for me one more time.

12       Q     None of the co-defendants have made any

13       statements that Mr. Millan knew about the incident

14       of Little Rock prior to it occurring?

15       A     No, sir.    We have not received direct firsthand

16       knowledge that anyone knew that he knew about it

17       beforehand.

18       Q     Do you agree with me?

19       A     That is correct.

20       Q     Okay.

21             Turning to the questioning of Mr. Millan when

22       he was in custody.     At no point he admitted to any

23       involvement with Little Rock.

24       A     As far as daily operations or the homicide?

25       Q     The homicide.
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                               Joseph - cross                              63


 1       A     That's correct.

 2       Q     And you do admit that after some initial denial

 3       he did admit to the Raleigh incident, right?

 4       A     He kind of had to.

 5       Q     I understand that.     But never at any point did

 6       he make any admissions as to being involved with the

 7       homicide in Little Rock?

 8       A     No, he did not.

 9       Q     Okay.

10             On the transcript on page 49 J. M. M. clearly

11       states Cruz Millan did not know about it; correct?

12       A     That is what he testified to.       I don't believe

13       he would ever know.      He was a runner.     There was a

14       clear, defined, role, responsibility.

15       Q     But J. M. M. did not --

16       A     He would not be privy to that information.

17       Q     Okay.

18             You said that he is a micro manager.        That is

19       solely because he simply used to make frequent

20       contact with other people involved in the

21       organization; correct?

22       A     Far more than that.     These weren't social

23       conversations.

24       Q     Okay.

25             Let's turn to what is marked as government's
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 64 of 117 PageID# 8708

                               Joseph - cross                              64


 1       exhibit 12.

 2             If I could get that second page, please.

 3             With the exception of one call coming in from

 4       Mr. Millan, all the calls are going out; right?

 5       A     No, these are tolls based off of the 3799 on

 6       the left.     So we have based off of 3799 received

 7       from Cruz Millan an "N" next to it, incoming, that

 8       he received 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12,

 9       13, 14, 15 in-coming calls.

10       Q     Let me phrase it another way.

11       A     Okay.

12       Q     Can you pinpoint as to exactly what time the

13       physical act took place?

14       A     Right, approximately 1:00 o'clock.

15       Q     1:00 o'clock.

16       A     Let me put it this way.      He entered the trailer

17       around 1:00 o'clock.

18       Q     All right.

19             But, you weren't able to have a wire tap on any

20       of these phone calls, right?

21       A     That is before we intercepted any phone.

22       Q     Okay.

23             You also talk about what, who is known as

24       Sanchez-Acosta.     Isn't it true that Mr. Acosta told

25       you that "mission" could be a variety of different
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                               Joseph - cross                              65


 1       things?

 2       A     I believe so.    I am not sure.     Are you

 3       referring to debrief or referring to his testimony?

 4       Q     To a debrief.

 5       A     I was -- he was debriefed multiple times.         I

 6       believe that is what he said.       I can't be a hundred

 7       percent sure.     I wasn't there for all of them.

 8       Q     Okay.

 9             Your Honor, may I have this handed to --

10             THE COURT:    Sure.

11       Q     -- the witness?

12             Agent, could you please state to the The Court

13       what were the definition of "mission" given to you

14       by Mr. Acosta?

15       A      This is accurate as far as what he told, and

16       what we heard off the intercepts.

17       Q     There were at least three sets of -- would you

18       read this for The Court?

19       A     Word for word?

20       Q     Please.   Just the highlighted portion.

21       A     Okay.

22             The investigative report 122.       "Sanchez-Acosta

23       explained that a mission could be defined as a -- in

24       a number of different ways.       A mission could be when

25       Cruz Millan asked for money or when a runner was
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 66 of 117 PageID# 8710

                               Joseph - cross                              66


 1       sent to another state to deliver something, or when

 2       a machine broke and the jobs would have to be made

 3       in another state."

 4       Q     No mention of "violence?"

 5       A     Not in the specific instance, no, sir.

 6       Q     All right.

 7             Thank you.    If I may have that back.

 8       A     Certainly.

 9       Q     Isn't it also true that Mr. Acosta in his

10       debriefing made multiple versions of what happened

11       in Raleigh?

12       A     Any specific instance you are referring to?

13       Q     In the first debriefing said he wasn't even

14       present; correct?

15       A     Sir, without the report in front of me, if that

16       is what the report says, then maybe that is

17       accurate.     I don't have the report in front of me.

18       I am not comfortable testifying to that.

19       Q     Okay.

20             Court's indulgence?

21             THE COURT:    Sure.

22             MR. SRISKANDARAJAH:     Your Honor, may I have

23       these two reports handed to the agent, please?

24             THE COURT:    All right.

25       BY MR. SRISKANDARAJAH:
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                               Joseph - cross                              67


 1       Q     I will start with this one.

 2             Agent in that debriefing, that was the first

 3       debriefing of Mr. Acosta?

 4       A     This was the first time he talked to agent.          He

 5       talked to Bennett and Agent Rebe down in Little

 6       Rock.

 7       Q     In that he states that he was not even present.

 8       He left Raleigh before the incident; correct?

 9       A     That is what the witness says.       And I believe

10       from what I recall there were major inconsistencies

11       throughout this particular debrief, which would not

12       be at all uncommon to any of the other --

13       Q     That is not what I asked you.       But he did state

14       that he was not present at the Raleigh incident;

15       correct?

16       A     I believe so.

17       Q     And then how many other debriefings did you

18       have with him?

19       A     Maybe two other ones.      Potentially two or three

20       maybe.

21       Q     Okay.

22             It was only after the third one, it was only

23       during the third one you finally got a different

24       picture from what he originally told you in the

25       first one; correct?
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                               Joseph - cross                              68


 1       A     Again, sir, I would have to re-read all these

 2       reports.

 3       Q     I will hand this to you.

 4       A     Just so The Court understands, when was the

 5       first debriefing, sir?

 6             Sir -- oh first?     December 6 of 2010.

 7       Q     And what is the date I just handed to you?

 8       A     May 23rd, 2011.

 9       Q     Okay.

10       A     Do you want me to read the whole thing?

11       Q     If that refreshes your recollection, isn't that

12       when he finally gives you a quote, unquote, debrief?

13       A     This was a far more thorough debrief.

14       Q     Okay.

15       A     Again, very, very common.

16       Q     Okay.

17             Could I have it?

18       A     Sure.

19       Q     So a substantial time after his original

20       statement to you, or to the agent, is when he

21       switches up his story; is that correct?

22       A     He gave a better version of his story, more

23       thorough version of his story.

24       Q     Okay.

25             With the exception of the statements made by
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                               Joseph - cross                              69


 1       Mr. Millan about internal discipline, there is no

 2       evidence that Mr. Millan was tied to any overt acts

 3       of violence; correct?

 4       A     Internally?

 5       Q     Yes.    With the exception of internal violence.

 6       A     I believe J. M. M. testified to the fact he was

 7       present for internal.

 8       Q     Not questioning --

 9       A     External?    Was he linked to any external?

10       Q     Yes.

11       A     As far as his involvement, or actually being

12       physical --

13       Q     First of all, did --

14       A     I think overt is dictating and instructing

15       somebody to do something.

16       Q     Okay.    Was he physically present for anything?

17       A     Not that I am aware of.

18       Q     All right.

19             Turning to the ledger that you discovered.

20       A     Which one?

21       Q     The one that you all used to create your

22       analysis of how many documents were sent, or how

23       many documents were produced.

24       A     Referring to the exhibit that we compiled off

25       of the 15 or so different ledgers that we recovered?
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                               Joseph - cross                              70


 1       Q     Yes.

 2       A     Okay.

 3       Q     Have you ever been able to -- whose handwriting

 4       was on those ledgers?

 5       A     We have not done a handwriting analysis on any

 6       of them, exemplars.

 7       Q     Now, you don't deny that in the past people,

 8       different members of the organization, have done or

 9       made fraudulent statements to Mr. Millan; correct?

10       A     They may have.     I don't really know.     All I can

11       testify to is what we heard on intercepts.

12       Q     Certainly there were instances where people

13       were stealing, lying about making sales; correct?

14       A     No, sir, not that jumped out at us.

15       Q     Okay.

16             The only -- the one thing you can conclusively

17       state based on Mr. Millan's statement himself is

18       that he was required to send across 15,000 every two

19       weeks?

20       A     Every two weeks.

21       Q     Okay.   That would be the only thing you could

22       rely on to make a determination as to how much money

23       he sent across?

24       A     No, absolutely not.

25       Q     Well --
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                                Joseph - cross                             71


 1       A      Financial affidavits, financial write-ups,

 2       detailed the wire transfers associated with the FTO

 3       sent to Mexico over a three-year period totaling

 4       conservatively in excess of a million dollars.

 5       Q      Were they all done by Mr. Millan?       Were all the

 6       monies sent across by Mr. Millan?

 7       A      The write-up slows initially on the first page

 8       the amount.

 9       Q      I understand.

10       A      I don't know.

11              The amount shows $54,230.     These are the

12       actual, we heard him involved in the intercepts.           We

13       know that for sure.      These other ones -- again,

14       Special Clements composed this in great detail.          It

15       shows, the formula he came up with, the pattern, the

16       analysis.    Everything in here is corroborated off of

17       what they did, how they operated, who sent it, who

18       received it.

19              THE COURT:   The question was a simple one.

20       Each one of these transactions had to be approved by

21       him?

22              THE WITNESS:    Directly, no.

23              THE COURT:   All right.

24       BY MR. SRISKANDARAJAH:

25       Q      Thank you.
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                             Joseph - redirect                             72


 1             Last question, sir, is, at no point, at no

 2       point during any of your debriefings of Mr. Millan

 3       or anyone else, nothing tying him to Little Rock

 4       other than phone calls, that you have no knowledge

 5       of what was said on those phone calls.

 6       A     I believe I answered that already, that's

 7       correct.

 8       Q     Okay.

 9             Nothing further, Your Honor.       Thank you.

10             THE COURT:    Anything else from the government?

11             MR. GILL:    Briefly, Your Honor.

12                            REDIRECT EXAMINATION

13       BY MR. GILL:

14       Q     Agent Joseph, first with respect to Dorien

15       Sanchez-Acosta.     The interview that is referenced by

16       the defense, the first interview that occurred

17       following his arrest.      Was he cooperating at that

18       time?

19       A     Not as far as through coordinated with the U.S.

20       Attorney's office or anything.       He reached out to an

21       agent.

22       Q     And then the second debriefing that I pointed

23       to that occurs on May 23rd of 2011, was that at a

24       point that he was cooperating and under a plea

25       agreement and actually sat down for the first time
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 73 of 117 PageID# 8717

                             Joseph - redirect                             73


 1       with you and other investigators to talk about what

 2       happened?

 3       A     Absolutely.    If I recall correctly, he had

 4       counsel present.

 5       Q     Is it uncommon in your experience that

 6       individuals when they are first arrested that they

 7       are not completely truthful about what happened?

 8       A     Extraordinarily common.

 9       Q     Now, you were being asked about whether there

10       were other, specifically other individuals who have

11       been interviewed who referenced the defendant's

12       involvement in other acts of violence against

13       members internally.      Are you familiar with J C V who

14       was interviewed in this case?

15       A     I am.

16             MR. SRISKANDARAJAH:     Judge, I am going to

17       object.   That is not what I asked.       I specifically

18       asked only as to external.       Not internal.

19             THE COURT:    This relates to internal?

20             MR. GILL:    It does.   I believe he asked him.

21             THE COURT:    No, that is conceded it is

22       internal, so there is no --

23       BY MR. GILL:

24       Q     And then finally with regard to external, are

25       you aware of J C V describing events that occurred
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 74 of 117 PageID# 8718

                              Joseph - redirect                            74


 1       in Cincinnati, Ohio where the defendant was

 2       involved?

 3       A     Yes, sir.

 4       Q     Generally describe that for us.        J C V was

 5       ordered to go to Cincinnati where one of their own

 6       had been assaulted by a competitive group.          Actually

 7       badly hurt.    And I believe their equipment may have

 8       been also stolen.     JCV went out with other FTO

 9       members and stayed in a hotel that was provided by

10       Cruz Millan.    The mission or the instructions were

11       to find the phone numbers of the other document

12       sellers or manufacturers so they could retaliate.

13             MR. SRISKANDARAJAH:     Objection, again, to that

14       statement, Judge.     I don't believe there was any

15       evidence that they could substantiate.         Simply, I

16       believe that the evidence would show that just to

17       get the phone numbers.      Nothing beyond that.

18             THE COURT:    All right.    I hear you.

19       BY MR. GILL:

20       Q     Agent, I turn your attention to the report

21       regarding that interview.       Page 5.   The J C V

22       providing details with respect to, that the purpose

23       was to find the competition for retaliation.

24       A     Retaliation.    Could be planned against rival

25       document groups.
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                               JOSEPH - recross                            75


 1              MR. GILL:    No further questions; Your Honor.

 2              THE COURT:    All right.

 3              Thank you, Agent.    You may stand down.

 4              THE WITNESS:    Thank you.

 5                             (Witness stood aside)

 6              MR. GILL:    With that we rest.    No further

 7       witnesses.

 8              THE COURT:    All right.

 9              MR. SRISKANDARAJAH:    I would like to ask the

10       Agent one question as to retaliation.

11              THE COURT:    Go ahead.

12              MR. SRISKANDARAJAH:    Thank you, Your Honor.

13                              RECROSS EXAMINATION

14       BY MR. SRISKANDARAJAH:

15       Q      Agent, since that was opened up now --

16       A      Yes.

17       Q      -- in the past was it part of the

18       organization's technique to simply turn law

19       enforcement on to competitors?

20       A      You are asking if the practice was to turn, rat

21       out?    I don't know what instances there where that

22       occurred.

23       Q      So retaliation could mean simply get the cops

24       involved so they could be taken out; correct?

25       A      That would make no sense, since -- Cruz Millan,
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                         Alcaraz-Palomares - direct                        76


 1       as well as other members, as well, were summoned,

 2       took place, to look at those numbers.         He says, also

 3       said there enforcers that were present.

 4       Q     Okay.

 5             No further questions of this witness.

 6             THE COURT:    Thank you, Agent.     You may stand

 7       down.

 8             THE WITNESS:    Thank you.

 9             THE COURT:    The government has rested.

10             The defendant, do you have any evidence?

11             MR. SRISKANDARAJAH:     I do, Your Honor.

12             Court's indulgence, Your Honor.

13             THE COURT:    Let's take about ten minutes.

14                            (A recess was taken)

15             THE COURT:    All right.

16             Defendant?

17             MR. SRISKANDARAJAH:     Your Honor, I would like

18       to call Mr. Alfonso Alcaraz-Palomares.

19             THE COURT:    All right.

20                         ALFONSO ALCARAZ-PALOMARES.

21                     WAS SWORN AND TESTIFIED AS FOLLOWS:

22                             DIRECT EXAMINATION

23                            (Through interpreter)

24       BY MR. SRISKANDARAJAH:

25       Q     Sir, please state your name for the record.
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                         Alcaraz-Palomares - direct                        77


 1       A     Alphonso Alcaraz-Palomares.

 2       Q     How old are you?

 3       A     33.

 4       Q     Okay.

 5             Do you know Mr. Cruz Millan?

 6       A     Yes.

 7       Q     Okay.

 8             At some point you were transferred to Little

 9       Rock from Virginia Beach?

10       A     Yes.

11       Q     When -- who told to you go there?

12       A     Israel.

13       Q     Okay.   And did he tell you why you needed to go

14       go there?

15       A     Because there was nobody, nobody that was

16       there.

17       Q     Okay.

18             When he asked you to go there did he make any

19       reference to any kind of violence that had taken

20       place in Little Rock?

21       A     No.

22       Q     Now, what was your role in the, in the

23       organization?

24       A     I was one of the managers that did the job.

25       Q     Okay.
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                         Alcaraz-Palomares - direct                        78


 1             Did Mr. Millan ever, paraphrasing, but did

 2       Mr. Millan ever come to you and say something along

 3       the facts, if any of -- I am planning an attack on

 4       somebody in Little Rock and after it is over I am

 5       going to need you to go to Little Rock?

 6       A     No.

 7       Q     Do you recall approximately when you first

 8       found out you were going to go to Little Rock?

 9       A     When he arrived, one or two days before I went

10       to Little Rock.

11       Q     Who arrived?

12       A     Israel.

13       Q     Okay.

14             At any point did you ever find out about any

15       kind of attack in Little Rock?

16       A     Yes, I did find out about it, an attack that

17       occurred there.

18       Q     And that was after the attack had occurred?

19       A     Yes.

20       Q     Who told you?

21       A     Well, through all the people, all the Hispanic

22       people that were all talking about it, and through

23       all of them I found out.

24       Q     Did any of them ever mention that Mr. Millan

25       had anything to do with the attack in Little Rock?
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                         Alcaraz-Palamores - cross                         79


 1       A     No.

 2       Q     In the community would people know who in the

 3       organization that were part, a part of -- would

 4       people know if an attack had been ordered?

 5       A     Well, that I know; no, no.

 6       Q     After talking -- after the people in the

 7       organization were talking about the attack in Little

 8       Rock, there was absolutely no mention of Mr. Millan

 9       having anything to to do with the attack?

10       A     No, no, they didn't say anything about that.

11       Q     Okay.

12             No further questions for this witness, Your

13       Honor.

14             THE COURT:      Any questions from the government?

15             MR. COMBS:      Yes, Your Honor.

16                               CROSS EXAMINATION

17       BY MR. THOMPSON:

18       Q     Good morning, sir.

19       A     Good morning.

20       Q     You first joined the organization in 2004,

21       right?

22       A     Yes.

23       Q     And then you came in as a cell manager in

24       Little Rock, Arkansas in February of 2009; right?

25       A     Yes.    True.
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                         Alcaraz-Palamores - cross                         80


 1       Q     And who appointed you cell manager in 2009?

 2       A     Israel.

 3       Q     By Israel, who do you mean?       Please point out

 4       who you are talking about.

 5             May the record reflected he pointed to the

 6       defendant?

 7             THE COURT:    The record so reflects.

 8       BY MR. THOMPSON:

 9       Q     At some point did you go to Virginia Beach in

10       August of 2009?

11       A     Um hum.   Yes.

12       Q     Who told you to go to Virginia Beach?

13       A     Israel.

14       Q     Did you stay in Virginia Beach until the

15       defendant, Israel Cruz Millan, told you to go back

16       to Little Rock?

17       A     Yes.

18       Q     That was in the end of July of 2010?

19       A     Yes.

20       Q     He told you in person, right?       He came to

21       Virginia Beach?

22       A     Yes.

23       Q     And when he met you he also told you there was

24       a problem in Little Rock; right?

25       A     He just told me that I had to go there because
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                         Alcaraz-Palamores - cross                         81


 1       they were very low on people there.

 2       Q     And you recall meeting with investigators on

 3       May 13th of 2011; is that right?

 4       A     Um hum.

 5       Q     And you were meeting with us pursuant to a

 6       cooperation agreement?

 7       A     Yes.

 8       Q     And do you recall at that meeting telling

 9       investigators that Israel told you there had been a

10       problem in Little Rock, and that was why you were

11       going back?

12       A     Gosh, I didn't remember but --

13       Q     But -- and then you at some point also spoke

14       with Arasmo, Edy Oliverez; right?

15       A     Yes.

16       Q     He told you about someone who had been killed

17       in Little Rock, right?

18       A     Yes.

19       Q     And you talked to Israel and tried to talk to

20       him about that incident, didn't you?

21       A     Um hum.

22       Q     But he refused to talk to you and kept changing

23       the subject; is that right?

24       A     Yes.

25       Q     So he didn't want to talk about something?
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                         Alcaraz-Palamores - cross                         82


 1             MR. SRISKANDARAJAH:     Objection.

 2             THE COURT:    He can't tell you what was in

 3       somebody else's mind.

 4       BY MR. COMBS:

 5       Q     Now, let's talk about the competition.

 6             One of the rules of the organization was that

 7       you were to get the phone numbers of the

 8       competition; right?

 9             MR. SRISKANDARAJAH:     Judge, this goes beyond

10       the scope of my direct.

11             THE COURT:    No.

12             THE WITNESS:    Could you repeat the question,

13       please?

14       BY MR. THOMPSON:

15       Q     You were responsible as a cell manager for

16       getting phone numbers from the competition.

17       A     Yes.

18       Q     Who did you give the phone numbers to once you

19       got them?

20       A     Israel.

21       Q     You told investigators on May 11 of 2011 that

22       you gave them the numbers so that he could either

23       fight or talk with the competitors, right?

24             THE INTERPRETER:      The interpreter requests a

25       repetition.     To fight?
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                         Alcaraz-Palamores - cross                         83


 1       BY MR. THOMPSON:

 2       Q     Fight or talk with the competitors.

 3       A     I would just give it to him, and then I don't

 4       know what would happen there.

 5       Q     But you told investigators --

 6             MR. SRISKANDARAJAH:     Objection.     Asked and

 7       answered.

 8             THE COURT:    No.   You can go ahead and try to

 9       clarify it.

10       BY MR. THOMPSON:

11       Q     So, but you told investigators that you thought

12       the reason was to fight or talk?

13             MR. SRISKANDARAJAH:     Objection.

14             THE COURT:    The objection is sustained.       You

15       are asking him to speculate now.

16       BY MR. THOMPSON:

17       Q     Now, when you -- who did you talk to to get

18       resource materials for printing documents?

19       A     Israel.

20             MR. SRISKANDARAJAH:     Clearly goes beyond the

21       scope of my direct.

22             THE COURT:    The witness is here.      You brought

23       him here.    He can ask him questions.       .

24             MR. THOMPSON:    I will be very brief.

25             Also, you sent money back always at the
Case 3:10-cr-00308-JRS Document 842 Filed 06/04/12 Page 84 of 117 PageID# 8728

                       Alcaraz-Palamores - redirect                        84


 1       direction of Israel Cruz Millan; correct?

 2             THE WITNESS:    Yes.

 3       BY MR. THOMPSON:

 4       Q     But he told you what to do on a day-to-day

 5       basis.

 6             No further questions.

 7             THE COURT:    All right.

 8             Anything further?

 9             MR. SRISKANDARAJAH:     Yes, Judge.

10                            REDIRECT EXAMINATION

11       BY MR. SRISKANDARAJAH:

12       Q     Senior -- sorry.

13             Sir, you said that you talked to Edy about the

14       violence that occurred in Little Rock?

15       A     Um hum.

16       Q     Did Edy say that Mr. Millan, Cruz Millan, had

17       anything to do with the violence in Little Rock?

18       A     No.    Not to me.   No, he didn't.

19       Q     Did he ever say anything to the effect of Cruz

20       Millan didn't know anything about it?

21       A     No, he didn't say anything like that.

22       Q     Okay.

23             Did Mr. Millan ever -- you were one of the cell

24       managers; correct?

25       A     Yes.
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                           Zuniga-Galvan - direct                          85


 1       Q     To the best of your knowledge when you were a

 2       cell manager did Mr. Cruz Millan ever order violence

 3       against any of your competitors?

 4       A     No.

 5       Q     Nothing further.

 6             THE COURT:    Thank you, sir.

 7             You may stand down.

 8                            (Witness stood aside)

 9             MR. SRISKANDARAJAH:     I ask for Luis

10       Zuniga-Galvan.

11             THE COURT:    All right.

12             Luis Zuniga-Galvan.

13                             LUIS ZUNIGA-GALVAN

14                     WAS SWORN AND TESTIFIED AS FOLLOWS:

15                             DIRECT EXAMINATION

16       BY MR. SRISKANDARAJAH:

17       Q     Sir, please state your full name for The Court.

18       A     Luis Zuniga-Galvan.

19       Q     Do you know Mr. Cruz Millan?

20       A     I met him the day that I was charged.

21       Q     Okay.

22             You have talked to Mr. Millan in the past,

23       prior to that; correct?

24       A     On the phone?

25       Q     Yes.
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                           Zuniga-Galvan - direct                          86


 1       A     Yes.

 2       Q     And do you remember a time on or about

 3       November 2010 talking to him about the competition?

 4       A     Yes.

 5       Q     Do you recall a time when during that

 6       conversation Mr. Muerto, Mr. Cruz Millan, said,

 7       let's do something evil to them, don't you think, or

 8       something like that?

 9       A     No, I don't remember that.

10       Q     Okay.

11             In the organization that you were a part of

12       when the word "Tios" is used; what does it mean?

13       A     Tios?

14       Q     Tios.   T-I-O-S.

15       A     Policeman.

16       Q     Okay.   Do you remember having a problem with

17       the competition in your area?

18       A     Yes.

19       Q     Do you remember Mr. Millan asking you to find

20       out who the competition was?

21       A     Yes.

22       Q     Do you recall Mr. Millan ever telling you, find

23       out who they are, and we will turn them over to the

24       police?

25       A     Yes.
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                            Zuniga-Galvan - cross                          87


 1       Q     In the past had Mr. Millan ever told you to

 2       turn people over to the police?        Competition?

 3       A     Just that one time.

 4             From then on he didn't talk again about

 5       competition or policemen.

 6       Q     Okay.

 7             I have no further questions for this witness,

 8       Your Honor.

 9             THE COURT:    Anything from the government?

10             MR. GILL:    Yes, Your Honor.

11                              CROSS EXAMINATION

12       BY MR. GILL:

13       Q     Mr. Galvan, my name is Mike Gill, U.S.

14       Attorney's office.

15             We have never spoken before, have we?

16       A     No.

17       Q     Now, sir, with respect to your involvement in

18       the organization.     Who was it that was in charge of

19       directing acts and dealing with competition?

20       A     Like what was happening?      Like what I had to

21       give?

22       Q     Yes.

23       A     Well, to Mr. Cruz Millan.

24       Q     In fact, isn't it true, sir, that with respect

25       to acts involving competition that Israel Cruz
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                           Zuniga-Galvan - cross                           88


 1       Millan was in charge of the decision that you are

 2       aware of?

 3       A     Well, I imagine so, because everything -- we

 4       had to tell him everything.

 5       Q     So he was aware of what you were doing in

 6       Boston, Massachusetts?

 7       A     Well, the time I would call him I would tell

 8       him what was going on.

 9       Q     And you would never do anything to the

10       competition without him knowing about it, would you?

11       A     Yes.

12       Q     In fact, sir, when you were talking about your

13       acts and passing information about the competition

14       up to Israel Cruz Millan around the October 2010

15       time frame, do I have that right?

16       A     Um hum.

17       Q     That is a "yes?"

18       A     Yes.

19       Q     In fact, the problem was, does it sound

20       familiar that the competition was selling documents

21       for a hundred dollars a set, $60 below what you were

22       supposed to be selling them for?

23       A     Um um.    Yes.

24       Q     And there were various people up there who were

25       helping you out with that situation, weren't there?
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                            Zuniga-Galvan - cross                          89


 1       A     Yes, there were two people.

 2       Q     In fact, was there an individual referred to as

 3       Pedrino?

 4       A     Pedrino?

 5       Q     How about an individual known as Pelone or

 6       Doberman?

 7       A     That I remember, no.

 8       Q     Are you aware after you reported this

 9       information to Israel Cruz Millan that agents

10       intercepted another call between him and another

11       unknown male who was helping you up there in Boston?

12       A     I don't know who -- if you could explain to me

13       a bit better.

14       Q     Absolutely.

15             Would it surprise you to learn that during the

16       conversation that occurred the same day that you

17       reported this information to Israel Cruz Millan that

18       he is talking to somebody about, "Well, just find

19       out, and I quote, who they are.        We might as well,

20       when I go up there we can beat the shit out of them.

21       Fuck it, we might as well."

22             MR. SRISKANDARAJAH:     Judge, I am sorry --

23             THE COURT:    Sustained.

24       BY MR. GILL:

25       Q     Were you involved in following the competition
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                            Zuniga-Galvan - cross                          90


 1       on October 12, 2010?

 2       A     No.

 3       Q     Are you aware that other individuals were

 4       actually in a vehicle following the competition as

 5       they were driving a 2004 red Windstar?

 6       A     No, I didn't know about that then.        I found out

 7       about that later.

 8       Q     What did you find out about it later?

 9       A     About that.    What you are saying about they

10       were following them.      That I found out about that

11       after I was arrested.

12             And my attorney, my attorney was the one who

13       told me about that.

14             THE COURT:    All right.    Let's move.

15             You keep asking, is he aware of stuff, and he

16       he got information from his lawyer, and then another

17       lawyer, and he doesn't know a darn thing about it.

18       Come on.

19       BY MR. GILL:

20       Q     You testified on direct you weren't aware of

21       any other instances in Boston where you were trying

22       to find competition for the defendant.

23             I am sorry.    You testified on direct that you

24       were not involved in any other instances aside from

25       this one in trying to find competition for the
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                            Zuniga-Galvan - cross                          91


 1       defendant.

 2       A     Exactly, yes.

 3             MR. GILL:    Your Honor, I am going to mark this

 4       as Government's exhibit 29.

 5             It is a November 14, 2010 wire intercept

 6       transcript involving the defendant and Luis

 7       Zuniga-Galvan in which they were discussing the

 8       competition.

 9             I don't have the recording here in court.         Can

10       I read the portion that is attributed to him?

11             THE COURT:    Go ahead.

12             THE INTERPRETER:      The interpreter would request

13       a copy.

14             MR. GILL:    This is the only copy I have.

15             May I approach?

16             THE COURT:    Sure.

17             MR. GILL:    Thank you.

18       BY MR. GILL:

19       Q     Sir, in this recording between you and

20       defendant Muerto it has that you -- your nickname

21       was Ronna; correct?

22       A     Well, there they put me down as Ronna, but I am

23       Ramuna.

24       Q     Okay.

25             During this conversation you say, "Okay, so
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                           Zuniga-Galvan redirect                          92


 1       then I am going to drive around and check out the

 2       competition.    Right?"

 3             Muerto responds, "All right."

 4             You say, "And when I have, when it's true, when

 5       it is a hundred percent, then, true, then I will

 6       call you.    All right."

 7             And Muerto responds, "That is fine."

 8             Isn't that a fact, sir, that you are discussing

 9       following the competition for him?

10       A     Yes.

11             But that was just to get rid of him.        Nothing

12       was done with that.      I just kept saying, yes, yes, I

13       could so he wouldn't keep bugging me.         And that is

14       why I would say that.

15       Q     May I have one moment, Your Honor?

16             No further questions, Your Honor.

17             THE COURT:    All right.    Anything else?

18             MR. SRISKANDARAJAH:     One moment.

19             One very brief question, Judge.

20                            REDIRECT EXAMINATION

21       BY MR. SRISKANDARAJAH:

22       Q     Sir, I may have already asked this question.          I

23       apologize to The Court in advance if I have.

24             Do you know whether Mr. Millan ultimately

25       reported the competitors to the police?
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                                                                           93


 1       A     I don't know.    The thing was that one time that

 2       he told me to get the information about the

 3       competition so that he was going to call the police

 4       on them.    And then he was going to call the police.

 5       And then that is all that I know about that.

 6       Q     Nothing further, Your Honor.

 7             THE COURT:    You may stand down, sir.

 8             Anything else from the defendant?

 9             MR. SRISKANDARAJAH:     No, Your Honor.

10             Thank you, Your Honor.

11             THE COURT:    All right.

12             I will hear brief argument on the motion.

13             MR. GILL:    Your Honor, the guideline range

14       before The Court is 235 to 293 months and doesn't

15       account for many, many, key things that are

16       connected to this defendant's conduct on behalf of

17       the enterprise.

18             That guideline range, number one, doesn't take

19       into account the shear violence and terror that he

20       spread on that October 29, 2010 call.         It takes into

21       account the kidnapping, but it does not account for

22       the level of violence that he used against El

23       Chingway, the victim of that attack.         Doesn't

24       account for the fact that he extended that torture,

25       and was tortured over two separate phone calls, at
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 1       length, subjecting that victim to severe beatings on

 2       the call for brothers in the organization to hear.

 3             It doesn't take into account the other acts

 4       that Agent Joseph testified about.

 5             I will talk in a minute briefly, but there is a

 6       whole laundry list of things that aren't even

 7       factored into it, including the organization under

 8       his control, connections to the murder in Little

 9       Rock, Arkansas, all of these violent acts that he

10       directed as shown by the wire intercepts in

11       Nashville, Tennessee, Covington, Kentucky and

12       Boston, Massachusetts.      And there is many many

13       others that we definitely don't know about because

14       frankly, Your Honor, illegal aliens don't report

15       these attacks.     The only way law enforcement comes

16       across these is if we have them on radar.

17             The guidelines don't account for the money

18       laundering activities where they are sending over,

19       easily over $360,000 a year back to Mexico in

20       illegal proceeds.     It doesn't take into account that

21       they are pushing, and I believe it is conservative

22       and fair, well within what is before this court to

23       say moving about 20 documents a year.

24             Other defendants who appeared before this court

25       received significant departures based on all that
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                                                                           95


 1       conduct.

 2              Now, when we look at the nature and

 3       circumstances of this offense and everything that he

 4       did.    I believe his name hits him well.       Muerto, the

 5       dead one.    He is all about terror.      The enterprise

 6       that has been before this court for over a year now

 7       does not work without a Muerto at the helm.

 8       Enterprise such as this does not work without terror

 9       being struck in the heart of those who work for him,

10       as well as the competition that falls in their path

11       of the organization.      The pattern of violence is

12       staggering.    And it shows that he has no remorse

13       whatsoever.

14              They have he had no intention of changing his

15       behavior in light of what happened in Little Rock,

16       Arkansas.    Now, he was not on the ground in Little

17       Rock.    But, Your Honor, I believe that it is fair

18       based on the evidence before this court, knowing how

19       the organization works, including testimony of two

20       witnesses who testified on behalf of the defense,

21       nothing happened in this enterprise without Israel

22       Cruz Millan being involved in the decision.

23              Everybody is instructed across the board to

24       identify the competition, to report it up the chain,

25       and then he sets the retaliation and he gives the
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                                                                           96


 1       orders for the attack, the attack such as the one

 2       that occurred in Chesterfield, Virginia back in June

 3       of 2009.    And then the attack occurred July 16,

 4       2010.   And with respect to July 6 of 2010, we

 5       believe that the background knowledge about the

 6       pattern of organization plus the evidence before

 7       this court shows unquestionably he was involved as a

 8       supervisor, unquestionably he was aware of what

 9       happened.    Toll records don't lie.      And we have tied

10       them to that number 240-1780 that is referenced in

11       exhibit ten that Agent Joseph testified to.

12             That number is calling his mother during the

13       same time period it was his phone.        What are the

14       odds, Your Honor?     It is beyond reason, frankly,

15       that Edy Oliver Jiminez, the man convicted at trial

16       for that murder, is talking to Israel Cruz Millan

17       the night before that occurs, on July 5 of 2010.

18       And they have 17 minutes total of conversation.          In

19       fact, I believe 19 minutes.       That is on Government's

20       exhibit 12.    They have a long conversation.        If you

21       look at the same toll records the very next call

22       between them is when the defendant is calling Edy

23       Oliverez-Jiminez at the time the murder falling.           I

24       believe it is reasonable they had established that

25       he was going to contact them at the time that the
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 1       attack was occurring to check on the status and to

 2       get an update.     And when you look at that pattern in

 3       connection with Government's exhibits, I believe it

 4       is 13, that is the toll -- the brief summary about

 5       what was going on with the three phones that we know

 6       were at the murder location, those phones, every one

 7       of them, were turned off at the time he is being

 8       murdered.    Several calls go in, none are received,

 9       except for one call, one call that at 1:18.          And,

10       Your Honor, looking at that, that means that Edy

11       Oliverez-Jiminez had to turn his phone on to accept

12       that call that came in from the defendant, because

13       Edy Oliverez-Jiminez knew his boss was going to be

14       contacting him to check on what is going on in

15       Little Rock, Arkansas.

16             He knew exactly what was going on.        He ordered

17       the competition -- the attacks like they have done

18       in every other instance -- and the other calls that

19       we have just show his involvement in that.          He was

20       involved.    He knew what was happening.       I am sure he

21       did not order the murder of Pascal, but he ordered

22       the attack of the competition and the events led to

23       the unfortunate death of that 17 year old.

24             The phone calls afterwards tell the tale that

25       he was heavily involved.      Government's exhibits 14,
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                                                                           98


 1       the call between Edy Oliverez-Jiminez and -- or

 2       actually 15, I apologize, Edy Oliverez-Jiinez and

 3       Armando Gonzalez Medina.      They are talking about in

 4       that call Cruz Millan told them, if you don't like

 5       what is going on, you can get out.        And he says,

 6       that he, he being the defendant, sent them to hell.

 7       He ordered them to take part in that attack, and

 8       they did.    And that 17 year old died as a result.

 9       And then the final call that we introduced between

10       Edy Oliverez-Jiminez, the convicted murderer, and

11       the defendant shows he was fully aware of what was

12       going one.    He knew that one victim had been left

13       alive, and he can't send Edy back to that location

14       or he would be identified.

15             Anybody with half a conscious would have

16       stopped.    Anybody with half a conscience would have

17       changed behavior after that, after that young boy

18       died.   But he did not.     Instead he steps up his

19       activities and that is when the investigation kicks

20       in and all of those wire intercepts and pattern we

21       talked about show how deadly this defendant is

22       before this court.     Nashville, Tennessee.      He shows

23       no hesitation whatsoever in that call that we played

24       for The Court when he is talking to Feo.         They are

25       talking about steps, and the defendant is screwing
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                                                                           99


 1       with him.    They have got abandoned house.       Check.

 2       Do you have the phone?      Check.   Be sure wipe down

 3       for fingerprints.     You don't want to leave any

 4       evidence.    It is like a "how to" book directed by

 5       the defendant for all cell managers across the

 6       country on how to do these attacks when they are

 7       going to lure a competitor in.

 8             Covington, Kentucky shown by Government's

 9       exhibits 26, is the same deadly pattern.         And also

10       shows how they like to use women to lure

11       competition, because they are less suspecting.

12       Again, that mirrors what happened in Little Rock,

13       Arkansas when they tried to use S. O., who testified

14       at trial, to lure in the victim.

15             The discussions between Ramirez on the calls we

16       put before this Court show the level of violence he

17       is directing, that he wants these cells to engage

18       in, including having them have screwdrivers and have

19       baseball bats, and that they got to be ready in

20       dealing with the competition.

21             With respect to Boston, same thing was going

22       on.   He is talking about, those calls are clear, and

23       I know The Court has read them.        Talking about

24       beating up the competition, and the only thing that

25       changes in the call is because they realized the
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  1      competition was driving around with five or six

  2      members because they knew they would be attacked,

  3      and he decided, okay, we are not going to do an

  4      attack, I will turn them over to the police.          He

  5      made a strategic decision not to do that.          But he is

  6      directing these, if they are going in two or three,

  7      you can bet it would have been another attack.           He

  8      is engaged in the same pattern all along.

  9            But when you add to that external violence, the

 10      internal violence and the way that he directed the

 11      organization it is frightening.

 12            That guideline range presently before this

 13      court only accounts for the kidnapping.          I mentioned

 14      earlier it doesn't account for the, pardon the

 15      language, but the hell that he put that victim

 16      through on these two conference calls just so he

 17      could prove a point to the enterprise.         Just so he

 18      could scare everyone, this is what I am going to do

 19      if you steal from the organization.         And he himself

 20      uses the word "torture" many times in those calls.

 21      And the only reason that that event stopped is

 22      because the police department got on their doorstep

 23      during the investigation, and certainly not because

 24      of anything this defendant did.        And frankly the

 25      victim is lucky he wasn't killed with a metal bat or
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  1      being electrocuted with jumper cables and everything

  2      else he went through.

  3            All that aside, the non violent aspect of this

  4      case also warrants departure.        I mentioned a number

  5      of documents.     You are aware of that.      Mentioned the

  6      money laundering.      These factors that this Court has

  7      relied upon in departing upward in all the other

  8      defendants for which their scope of involvement is

  9      so much lower than his.       Sometimes four or five

 10      levels the defendants have received for acts of

 11      violence or for the level of documents.

 12            I want to end with what I believe to be the

 13      most important, what United States firmly believes,

 14      the most important 3553 factors that apply to the

 15      sentencing before this court.        That is, not only the

 16      seriousness of the offense which I have described

 17      for The Court, but the need for deterrence.          This is

 18      a unique opportunity for this Court -- and this is

 19      an opportunity that doesn't come very often to

 20      Virginia, or frankly, any other court in the United

 21      States -- because present before you today, Your

 22      Honor, is in effect a cartel leader.         He is at the

 23      highest level of the organization.         He was in charge

 24      of the United States operations for this

 25      organization.     And with the level of violence that
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  1      the evidence has shown this Court that he is

  2      responsible for, and the level of violence this

  3      country is dealing with on its borders, of respect

  4      to the drug cartels and other gangs out of Mexico

  5      that are bleeding into the United States, and law

  6      enforcement has spent day in and day out trying to

  7      fight it, trying to stop it.        That it seems

  8      sometimes that there is no end to it.

  9            But we are certain that a strong sentence of

 10      this Court sends the right message.         We believe 50

 11      years is right.     We believe the facts warrant it.

 12      We believe that it needs to be sentenced, and that

 13      the cartel leaders, the leaders of this violence in

 14      Mexico, they get the messages that Cruz, Cruz Millan

 15      was sentenced to 50 years and this is what is going

 16      to happen if you come into this country over the

 17      period of two years and engage in this level of

 18      violence, this level of destruction.         The lives he

 19      destroyed, not only that family in Little Rock, but

 20      the list of those who work for him and the untold

 21      victims that we will never know because they are

 22      illegal aliens, all at his hands.         Nothing happened

 23      to this group without his knowledge.

 24            For all those reasons we respectfully request

 25      this Court to upward vary and to give him that 50
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  1      year sentence.     We believe it is just and warranted

  2      by the facts.

  3            Thank you, Your Honor.

  4            THE COURT:    Thank you.

  5            Defendant?

  6            MR. SRISKANDARAJAH:      Judge, I will pick up

  7      where Mr. Gill leaves off.       What I will tell this

  8      Court is Mr. Gill is right.       Mr. Cruz Millan from

  9      what the evidence shows was the person who was in

 10      charge of running the operations for the United

 11      States.    What Mr. Gill says to The Court is Mr. Cruz

 12      Millan is 26 years old.       The message that Mr. Gill

 13      is asking this Court to send out today is that there

 14      is never any redemption for a human being short of

 15      spending his entire life in a jail cell.          Mr. Gill

 16      wants this Court to lift up the federal penitentiary

 17      as high as it could lift it up, throw Mr. Millan

 18      under that cell, and slam it back down on him.

 19      Because, in essence, that is what a 50 year sentence

 20      is going to do.

 21            What I will tell The Court is this, and that is

 22      the premise that I would ask this Court to consider

 23      is Mr. Millan.     Judge, we all do things that at some

 24      point in our lives that result in, taking a phrase,

 25      our life is like a field.       You sew seeds.     If you
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  1      sow good seeds, we are taught and led to believe, a

  2      good yield will come.      If you sow bad seeds, you

  3      will reap the same.      Mr. Millan without a doubt in a

  4      very short period of time has sowed some very, very

  5      bad seeds.     It is chilling to hear, and no one can

  6      deny, that that audio tape about the incident that

  7      occurred, Mr. Millan must be punished for that.

  8      There is no doubt about it.

  9            The question that comes before this court is

 10      what is the appropriate amount of punishment.           And

 11      the only person who can decide that is you.

 12            I could stand here before this Court and ask

 13      this Court and throw numbers at The Court, but,

 14      Judge, I am not going do that because the reality

 15      is -- and this is not an endeavor to fight with this

 16      Court -- this Court has far greater wisdom in terms

 17      of watching a lot of cases that come before it than

 18      anything I can tell The Court about what is an

 19      appropriate sentence.      This is ultimately The

 20      Court's decision.

 21            What I will tell The Court is this incident in

 22      Arkansas that the government keeps pounding its fist

 23      on the table and saying it is all Millan, I would

 24      submit to The Court is not an accurate statement.

 25      There is absolutely no contest that shows that
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  1      Mr. Millan has anything to do with ordering any kind

  2      of violence in Arkansas.       There is no question that

  3      he engaged in violence internally.         But the Arkansas

  4      incident, Your Honor, is there is nothing to back it

  5      up.   We could engage in a significant amount of

  6      speculation and conjecture, but if The Court were to

  7      look at the cold hard facts there is nothing that

  8      shows that Mr. Millan had anything to do with

  9      ordering it.

 10            The transcript does show that Mr. Millan knew

 11      about this incident.      But I will tell The Court that

 12      the transcript shows subsequent to the fact, not

 13      prior to the fact.      That is the distinction, Judge.

 14      Yes, he has been described as a micromanager.           But

 15      this Court knows very well that there are roving

 16      employees who go out and do things on their own.

 17            And to hold Mr. Millan liable for something an

 18      employee of his did, without any evidence thereof

 19      that Mr. Millan had anything to do with it, would be

 20      unfair to him.

 21            Now, this Court has ample other reasons to

 22      sentence Mr. Millan.      This is not some pure angel

 23      who comes before this court and says, gee, Judge, I

 24      made a few mistakes and that is all I did.          The

 25      evidence is clear about that.
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  1            But not -- but I would ask this Court not to

  2      hang its hat on the Arkansas incident.

  3            You heard directly from two members of this

  4      organization that he did not order any acts of

  5      violence.    The two people we put before this court

  6      testified to that.

  7            J. N. N's trial testimony states Cruz Millan

  8      was not aware of the Little Rock Arkansas incident.

  9      No one debates.     That is about as clear as it can

 10      be.

 11             There is definitely some conflict in testimony

 12      from D. S. A. about what happened in Arkansas.           But

 13      the bottom line is, you can hear his voice.          He was

 14      there.    And he concedes to it.      What is most

 15      compelling about Mr. Millan is that when asked

 16      about, when he is being questioned by the agents,

 17      their own agent testified that the standard pattern

 18      is they deny it then they come forward and 'fes up

 19      to what they were involved in.        That is exactly what

 20      happened.    Mr. Millan denied the Raleigh incident.

 21      Then admitted to the incident with Raleigh.          But

 22      when asked about the Arkansas, he held his ground.

 23            The agent tried to play it off as well, he

 24      didn't really say anything.       But the reality is he

 25      held firm.     The government takes the position in its
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  1      sentencing memorandum he should be given 50 years

  2      but he shouldn't be given the one-point reduction

  3      for acceptance of responsibility.         In our memorandum

  4      we clearly show The Court Mr. Millan has always said

  5      throughout this entire case, I accept responsibility

  6      for the following things.       But he was never given an

  7      opportunity to plead until literally the day before.

  8      If he had given that opportunity he would have come

  9      before this Court two years ago and said to The

 10      Court, I am guilty.      I did it.    I don't deny it.

 11      But that is not what he was given an opportunity to

 12      do.

 13            The government steadfastly said it is an all or

 14      nothing deal.     Take the murder or you don't get a

 15      deal.

 16            You don't even get to plead to these counts.

 17            That is the position the government took.

 18            That is not the action of a man who comes

 19      before this court and says, I am guilty of these

 20      things.

 21            Judge, we have briefed this in great detail for

 22      The Court.     I would submit to The Court there is a

 23      case that shows Mr. Millan does a lot of chest

 24      thumping, we are going to get these guys, we are

 25      going to do these guys.       But the reality is he
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  1      doesn't do anything.      We, when he is dealing with

  2      the competitor, he calls the titos, the police.           So

  3      he says, well, we will get the police involved.

  4      That is how he fixes his problem.

  5            Your Honor, I would ask this Court, I would

  6      also tell The Court, Judge, the Raleigh incident is

  7      already taken into account in the guidelines.           That

  8      has already been addressed.       To say that there is

  9      further enhancement that should occur, I would

 10      submit is, again, coming back to the analogy or

 11      example I give The Court, which is hold up the

 12      federal penitentiary as high as you can and throw

 13      him underneath it.

 14            To take everything in context, Judge, and to

 15      say that Mr. Millan is a monster with no chance of

 16      redemption is an unfair position to take for the

 17      government.     To take the position he is a cartel

 18      member who should be made an example of, Judge, I

 19      ask to you think about a 26-year-old man here before

 20      this Court.     The Court has to decide, is there a

 21      potential for redemption for Mr. Millan.

 22            Thank you, Your Honor.

 23            THE COURT:    All right.

 24            MR. SRISKANDARAJAH:      One last thing.     I also

 25      stated in my memorandum, in subsequent memorandum as
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  1      to the facility, I believe it is in Kentucky for

  2      placement, if The Court would do that as well.

  3            Thank you, Your Honor.

  4            THE COURT:    All right.

  5            Let me resolve the motion first of all.

  6            Let me be clear, the first thing is the motion

  7      before The Court relating to the variance is a very

  8      particular and specific motion that The Court will

  9      deal with within the discretionary guideline regime.

 10      The question that comes to a variance from a

 11      particular guideline range relates to very specific

 12      considerations that have not been taken into account

 13      by the probation department in putting together

 14      their presentence report, and the work sheets that

 15      are attached thereto.      So, obviously, a variance is

 16      a very different thing than departure.

 17            So dealing with the motion for a variance, that

 18      motion will be denied.       And the reason for that is

 19      that all of these things that the government has

 20      appended or pinned its arguments on are considered

 21      by the probation department in coming up with the

 22      this guideline range.

 23            For instance, a lot of the discussion about the

 24      incident involving the kidnapping and abduction,

 25      unlawful restraint of an individual who was a part
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  1      of the conspiracy.      Well, that is what has driven

  2      this guideline range to the point where it is.           32

  3      points based on that.

  4            And then it's not over.       They give another two

  5      points for the serious bodily injury being

  6      sustained.     And then another two points for

  7      dangerous weapon being used.        Jumper cables and a

  8      battery.    And then he gets four points for role in

  9      the offense.     And that gets you up to 40 minus two

 10      for the cooperation.

 11            It is clearly not only has it been taken into

 12      consideration, it has run this truck a thousand

 13      miles down the road from where it would be if it

 14      wasn't there.

 15            So, to suggest that that activity is not taken

 16      into consideration is just not true.

 17            And it is the same thing with the number of

 18      documents.     You have plus nine as relates to the

 19      number of documents, plus 14, more than $400,000

 20      loss.    All of these things were considered.        So the

 21      request for a variance is not appropriate and will

 22      be denied.

 23            Now, on the issue of departure, there are a few

 24      things that The Court can look at to make some

 25      determination about whether or not a sentence
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  1      outside of the guideline range is appropriate.           And

  2      I will do that at the appropriate time.

  3            Mr. Cruz Millan, would you stand where you are,

  4      please.

  5            Sir, do you have anything you would like to say

  6      before The Court imposes sentence?

  7            THE DEFENDANT:     Yes, Your Honor.

  8            THE COURT:    Go ahead.

  9            THE DEFENDANT:     I don't want to seem like if I

 10      am feigning something.       I want to say it as I really

 11      feel it.

 12            I believe that the incident that took place in

 13      Raleigh was horrible.      It was part of a decision I

 14      was forced to do, and because of that I did that.

 15            I do not deny my participation, and I have

 16      admitted from the beginning that I did do it.           And I

 17      believe I deserve to be in jail for that same

 18      reason.

 19            I do not deny either that I was involved with

 20      the documents and the money.

 21            For that reason, Your Honor, I want to

 22      apologize to you, Your Honor, in your own behalf and

 23      on behalf of your country.

 24            I am fully sorry.      I think perhaps it is too

 25      late to say I am sorry, but I don't know if there is
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  1      is something else I could say at this moment.

  2      Perhaps the only thing I can add is if you could

  3      give me an opportunity to try my redemption, because

  4      of my family, because of my five year old child,

  5      with whom I have never been able to be and to give

  6      him an education.

  7             Perhaps to fulfill some of the wishes that my

  8      family at one time had for me, perhaps my mother.

  9            Perhaps if I had the opportunity to go back to

 10      school to become somebody in life to develop a

 11      professional career.      To be a good father, to be a

 12      good husband to my wife, who has had a lot of

 13      problems with mental health.        And in that way to

 14      change.

 15            The hope that I have for something positive,

 16      for something that, where I can fix things in the

 17      future.

 18            Finally what I would like to say is I am truly

 19      sorry, and I apologize.       But if you give me one last

 20      opportunity, believe me I will not fail you.

 21            That is all, Your Honor.

 22            THE COURT:    All right.

 23            It is the judgment of The Court that the

 24      defendant, Israel Cruz Millan, is hereby committed

 25      to the custody of U.S. Bureau of Prisons to be
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  1      imprisoned for a term of 300 months.         The term

  2      consists of 240 months on count one, 240 months on

  3      count ten, all to be served concurrently.          A term of

  4      60 months on count nine to be consecutive to the

  5      other sentences imposed on counts one and ten.           The

  6      defendant is remanded to the custody of the U.S.

  7      Marshal.    He will receive credit for any time that

  8      he has previously served related to this offense.

  9      Obviously, this is an upward departure, and the

 10      basis for that is as clearly the leader of this

 11      organization Mr. Cruz Millan has to take more

 12      responsibility than the others.        His involvement in

 13      violence is clear.      The other individuals, the

 14      number of documents and the money involved drove to

 15      some extent the departure in their cases and would

 16      be no different here.

 17            The fact of the matter is, the exacerbating

 18      circumstances were more taken into account in this

 19      case than the others.

 20            The defendant is remanded to the custody of the

 21      Marshal.    Upon release from imprisonment the

 22      defendant shall be placed on supervised release for

 23      a term of three years.       This term consists of three

 24      years on count one, term of three years on count

 25      nine, and a term of three years on count ten, all to
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  1      run concurrently.

  2            Within 72 hours of release from the custody of

  3      the Bureau of Prisons the defendant shall report in

  4      person to the probation office in the district to

  5      which he is released.      While on supervision the

  6      defendant shall not commit another federal, state,

  7      or local crime, and he shall not unlawfully possess

  8      a controlled substance.       He shall not possess a

  9      firearm or other destructive device.         The defendant

 10      shall comply with the standard conditions as

 11      recommended by U.S. Sentencing Commission.          The

 12      defendant shall also comply with the following

 13      special conditions:      As a condition of supervised

 14      release upon completion of the defendant's term of

 15      imprisonment the defendant is to be surrendered to a

 16      duly authorized immigration official for deportation

 17      in accordance with established procedures.

 18            As a further condition of supervised release,

 19      if ordered deported the defendant shall remain

 20      outside of United States.       The Court has considered

 21      the defendant's financial situation in its totality,

 22      and The Court finds that the defendant is not

 23      capable of paying a fine, and therefore none will be

 24      imposed.    As to count one the defendant shall pay a

 25      special assessment of a hundred dollars; likewise,
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  1      as to counts nine and ten, for a total special

  2      assessment due of $300.       The special assessment

  3      shall be due immediately.       Any balance remaining

  4      unpaid on the special assessment at the beginning of

  5      supervision shall be paid by the defendant in

  6      installments of not less than $25 per month until

  7      paid in full.     Said payment shall commence 60 days

  8      after the defendant's supervision begins.          Payment

  9      of any unpaid balance shall become special condition

 10      of supervised release.

 11            Any forfeiture previously entered is hereby

 12      made a part of the sentence and shall be included in

 13      the judgment.

 14            The Court will make no recommendation to the

 15      Bureau of Prisons regarding precise place for

 16      housing of Mr. Cruz Millan.       The closest appropriate

 17      facility to his home is the most that I will say.

 18            Mr. Cruz Millan, you have a right to appeal any

 19      sentence imposed by this court.        If you are going to

 20      do that, you would have to file a notice of appeal

 21      within 14 days of today's date.

 22            The government, you still have all of those

 23      superseding indictments?

 24            MR. GILL:    We do, Your Honor.      And we move to

 25      dismiss the remaining indictments and other counts
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  1      pending with respect to this defendant.

  2            THE COURT:    All right.    That motion will be

  3      granted.    Remaining indictments and counts other

  4      than those to which he pled will be dismissed.           All

  5      right.

  6            That completes the matter.

  7            Thank you all very much.

  8                            HEARING ADJOURNED.

  9

 10            THE FOREGOING IS A TRUE AND CORRECT TRANSCRIPT.

 11

 12                         GILBERT FRANK HALASZ, RMR

 13                          OFFICIAL COURT REPORTER

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